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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

------------------------------------------------x

Bonnie Hernandez,

                               Plaintiff,                     SECOND AMENDED
                                                                 COMPLAINT

               v.                                       Case No. 4:23-cv-319 (MW) (MAF)

United States of America,

                              Defendant.

------------------------------------------------x

       Plaintiff, Bonnie Hernandez, by and through her attorneys, The Jacob D.

Fuchsberg Law Firm, LLP and Untiedt Dabdoub, PLLC, for her Second Amended

Complaint against Defendant as above captioned, brings claims and alleges as

follows upon information and belief:

                                     INTRODUCTION

       1.      Lenton Jerome Hatten (hereinafter “Officer Hatten”) was a former

sports specialist or correctional officer at Federal Correctional Institute, Tallahassee

(hereinafter “FCI Tallahassee”) who used his position and authority to stalk, sexually

abuse, harass, assault, and/or rape at least 11 women who were incarcerated at FCI

Tallahassee in the custody of the United States Bureau of Prisons (hereinafter

“BOP”) while he was employed there. Instead of protecting the women who were

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under his care and control, Officer Hatten was allowed and emboldened by BOP to

prey upon them.

      2.     Plaintiff   Bonnie   Hernandez       (hereinafter   “Plaintiff”   or   “Ms.

Hernandez”) is one of the victims who were brutally sexually abused by Officer

Hatten. Ms. Hernandez was incarcerated at FCI Tallahassee from around July 2015

through August 2022. Over time, Officer Hatten groomed, manipulated, and coerced

Ms. Hernandez into sexual submission, using the power and resources he had at his

disposal as a correctional officer. In or around October 2021, Officer Hatten

escalated his sexual abuse to forcible rapes, on repeat occasions, taking Ms.

Hernandez by force in isolated locations of FCI Tallahassee.

      3.     Ms. Hernandez initially suffered her sexual abuse in silence, lest she

was retaliated against or deprived of the modest privileges she had as an incarcerated

individual. Officer Hatten exercised complete dominion and power over her as a

correctional officer, with the key to her cell and control over her prison job, safety,

health, welfare, and contact with the outside world. Other BOP officers who knew

or should have known about Officer Hatten’s sexual abuse permitted, condoned, or

acquiesced to his misconduct.

      4.     Despite her fears of being discredited or retaliated against, on or around

August 10, 2022, Ms. Hernandez decided to report the sexual abuse to BOP

personnel at FCI Tallahassee as she could not tolerate the aggression. Officer



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Hatten’s abuse only came to an end through Ms. Hernandez’s courage to report him

to prison officials, which started a criminal investigation into his conduct.

      5.     On April 4, 2023, Officer Hatten was indicted for his sexual abuse of

Ms. Hernandez, which was in violation of 18 U.S.C. § 2243(b). He quickly pled

guilty on May 25, 2023, admitting in a statement of facts accompanying his plea

agreement that he had engaged in sexual relationship between October 2021 and

August 2022 with Ms. Hernandez. He was sentenced to three months of

incarceration and five years of supervised release on August 24, 2023. See United

States v. Hatten, No. 4:23-cr-18 (RH) (MAF) (N.D. Fl.). If the case had proceeded

to trial, the Government would have proven beyond a reasonable doubt that Officer

Hatten had used FCI Tallahassee as his playground, systematically grooming,

manipulating, preying upon, and raping Ms. Hernandez.

      6.     To borrow from FBI Deputy Director Paul Abbate’s words, Officer

Hatten “repeatedly sexually abused an inmate in his care and thanks to the victim’s

bravery in coming forward, future abuse has been prevented.”

      7.     Officer Hatten’s recurrent sexual abuse of incarcerated persons was

obvious to various agents, servants, contractors, and employees of BOP, including

but not limited to unit managers, counselors, correctional officers, lieutenants,

department heads, captains, supervisors, executive staff, associate wardens,

wardens, and investigators at FCI Tallahassee during relevant times. Throughout



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Officer Hatten’s employment at FCI Tallahassee until his resignation in or around

August 2022, BOP personnel deliberately ignored alarming warning signs and sex

abuse allegations against Officer Hatten.

      8.     It was apparent to Ms. Hernandez and other victims incarcerated at FCI

Tallahassee that BOP personnel would not intervene to prevent Officer Hatten’s

sexual assaults, let alone adequately discipline, supervise, or reprimand him in

accordance with BOP’s purported zero-tolerance policy against suspected staff sex

abuse on prisoners. Upon information and belief, by 2020, BOP employees were

aware that Officer Hatten was spending time alone with female prisoners and

engaging in inappropriate sexual and/or flirtatious interactions with them. This

highly abnormal behavior continued unchecked throughout Officer Hatten’s tenure

at FCI Tallahassee, with the acquiescence of other BOP officers who were acting

within the course and scope of their employment.

      9.     One of the primary reasons Officer Hatten was able to continue abusing

so many women for so long, including Ms. Hernandez, is because his fellow officers

did not follow the operating protocols by sharing supervisory duties with him. Upon

information and belief, two officers are required to be present during shifts to jointly

supervise prisoners who work in recreation (commonly known as “rec”). Therefore,

Officer Hatten should never have been alone with prisoners. However, during

COVID, the upstairs recreational room was closed to prisoners, and other rec officers



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would go upstairs to watch TV and use the computer instead of supervising prisoners

outside with Officer Hatten. Officer Hatten took advantage of his fellow officers’

dereliction of duties to accost, isolate, imprison, harass, abuse, assault, and rape

women right under the eyes of the BOP.

       10.    Officer Hatten took female prisoners to blind spots within FCI

Tallahassee that were not captured by security cameras, contrary to the existing

protocols. BOP personnel who were tasked with monitoring security cameras knew

that Officer Hatten often interacted with incarcerated persons in these blind spots

and stayed there for lengthy periods of time for no apparent reason. There was no

intervention to correct this.

       11.    Officer Hatten would also bring contraband into FCI Tallahassee and

use them as part of his modus operandi in sexual abuse. There was no intervention

to correct this.

       12.    Suspicions and allegations of Officer Hatten’s sexual abuse abounded

at FCI Tallahassee by the end of 2020, as many BOP employees saw, knew of, and

disregarded Officer Hatten’s suspicious interactions with incarcerated persons, some

of which amounted to flagrant violations of FCI Tallahassee’s security or operating

protocols. Nevertheless, until August 2022, Officer Hatten continued to work as a

sports specialist and/or correctional officer at FCI Tallahassee with the willful




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ignorance and tacit approval of his colleagues and/or supervisors, leaving countless

victims in his wake, including Ms. Hernandez.

      13.    It was only through the deliberate indifference, recklessness,

carelessness, gross negligence, and negligence of other BOP personnel, as well as

abject systemic failures at FCI Tallahassee and BOP, that Officer Hatten’s sexual

abuse of prisoners could continue unabated until August 2022.

      14.    As a result, Plaintiff Ms. Hernandez was forced to engage in recurrent

sexual encounters with Officer Hatten by threats of force or coercion. Starting with

grooming and sexual comments in or around 2019, Officer Hatten’s abuse developed

into full-fledged rapes in or around October 2021, with intercourse without

protection occurring on a weekly basis until August 2022. Officer Hatten became

increasingly aggressive and threatening over time, to the extent that during the last

rape in August 2022, Ms. Hernandez experienced vaginal bleeding.

      15.    As a prisoner under Officer Hatten’s custodial, supervisory, and

disciplinary authority, Ms. Hernandez did not have a meaningful escape from his

predatory conduct. She felt that she had no choice but to comply with Officer

Hatten’s abuse. She also feared that her reports regarding Officer Hatten would not

be believed by the authorities. Even after Ms. Hernandez took it upon herself to

report Officer Hatten, the Government failed to explore the severity of her abuse




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fully or accurately during Officer Hatten’s criminal proceeding, resulting in a mere

3-month sentence that does not begin to capture the egregious circumstances herein.

      16.    Ms. Hernandez experienced catastrophic and unnecessary pain and

suffering because of Defendant’s egregious disregard for, and carelessness towards,

Plaintiff’s safety and well-being despite the myriad warning signs regarding Officer

Hatten’s abhorrent conduct.

      17.    Plaintiff brings this suit under the Federal Tort Claims Act (hereinafter

“FTCA”), 28 U.S.C. §§ 2671, et seq., in connection with the deficient supervision

and custodial care provided to her by various BOP personnel including Officer

Hatten, within the scope of their employment with the BOP.

      18.    Plaintiff seeks redress for Defendant’s unlawful conduct, which caused

her to suffer permanent and catastrophic injuries.

                         JURISDICTION AND VENUE

      19.    This Court has original subject matter jurisdiction of this action

pursuant to 28 U.S.C. §§ 1331 and 1346(b)(1) as arising under the Constitution,

laws, and/or treaties of the United States of America. Plaintiff’s claims are

predicated, in part, upon the FTCA, 28 U.S.C. §§ 2671, et seq., authorizing actions

seeking relief against the United States.

      20.    This Court has personal jurisdiction because the alleged incidents

occurred within the confines of the State of Florida.



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        21.   Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(2) and

1402(b), as a substantial part of the events or omissions giving rise to Plaintiff’s

claims occurred within the boundaries of this District and Division, in the County of

Leon.

               CONDITIONS PRECEDENT TO THIS LAWSUIT

        22.   Plaintiff has properly complied with the requirements of 28 U.S.C. §

2675 by presenting an Administrative Claim against the United States of America.

The Claim was timely filed with the BOP on November 7, 2022, within two (2) years

of the accrual of the causes of action.

        23.   BOP received the Administrative Claim but has failed to dispose of this

Claim to date. Under 28 U.S.C. § 2675(a), BOP’s failure “to make final disposition

of a claim within six months after it is filed shall, at the option of the claimant any

time thereafter, be deemed a final denial of the claim.” By the filing of this action on

July 24, 2023, Plaintiff elected to deem BOP’s lack of response within six months

of filing as the final denial of Plaintiff’s Administrative Claim in its entirety.

Therefore, Plaintiff exhausted requisite administrative remedies under 28 U.S.C. §§

2401(b) and 2675(a).




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                             PROCEDURAL HISTORY

      24.      On July 24, 2023, a civil complaint was filed on behalf of Plaintiff Ms.

Hernandez by Busch Mills & Slomka, LLP, against Defendant United States of

America. See Dkt. 1.

      25.      On January 11, 2024, this Honorable Court granted a motion to

substitute attorney by Ms. Hernandez, allowing the undersigned attorneys to

substitute as counsel of record for the Plaintiff. See Dkt. 22, 27.

      26.      On January 12, 2024, this Court granted Plaintiff’s unopposed motion

for extension of time, which allowed Plaintiff to file an amended complaint by

February 16, 2024. See Dkt. 25. Plaintiff filed the first amended complaint on

February 16, 2024, in response to which Defendant moved on April 26, 2024. See

Dkt. 28, 34.

      27.      On May 6, 2024, this Court granted Plaintiff’s unopposed motion to file

a second amended complaint by May 7, 2024. See Dkt. 36. This second amended

complaint is therefore timely filed, with the amendment permitted under FRCP

15(a)(2).

                                       PARTIES

                                        Plaintiff

      28.      At all times relevant hereto, Plaintiff Ms. Hernandez was an adult

prisoner in the custody of BOP, incarcerated in a Federal Correctional Institution



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located at 501 Capital Cir NE, Tallahassee, FL 32301, commonly known as FCI

Tallahassee. Ms. Hernandez was transferred out of FCI Tallahassee in or around

August 2022 and is currently housed in a different BOP facility in the State of

Florida.

                                    Defendant

      29.    Defendant United States of America (hereinafter “United States”) is the

appropriate defendant for Plaintiff’s claims under the Federal Tort Claims Act. The

United States is a sovereign entity that has waived its immunity for certain claims,

including the claims set forth herein, and is liable for the acts or omissions of its

agents, servants, contractors, and employees that occur within the scope of their

employment.

      30.    At all times relevant hereto, Defendant United States, acting through

the BOP, was responsible for the operation, control, supervision, policy, practice,

implementation, and conduct of all federal correctional matters including at FCI

Tallahassee and was responsible for the hiring, retention, training, supervision,

management, discipline, and conduct of all BOP personnel, including but not limited

to Officer Hatten.

      31.    In addition, at all relevant times, Defendant United States was

responsible for enforcing the rules of the BOP, and for ensuring that BOP personnel

obey the Constitution and laws of the United States.



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      32.    At all times relevant hereto, Defendant United States, acting through

the BOP, hired Officer Hatten, as well as his colleagues and supervisors, to serve as

“law enforcement officer” within the meaning of 28 U.S.C. § 2680(h).

      33.    At all times relevant hereto, Officer Hatten was a sports specialist,

recreational officer, correctional officer, and/or an employee of BOP and Defendant

United States. In his capacity as an agent, servant, and employee of Defendant

United States, and within the course and scope of his employment as such, Officer

Hatten was responsible for the day-to-day oversight, supervision, safekeeping, care,

custody, control, direction, protection, safety, and well-being of people confined at

FCI Tallahassee, including Plaintiff.

      34.    At all times relevant hereto, Officer Hatten’s colleagues and

supervisors, including other recreational officers and correctional officers, were also

employees of BOP and Defendant United States. In their capacity as agents, servants,

and employees of Defendant United States, and within the course and scope of their

employment as such, these officers were responsible for the day-to-day oversight,

supervision, safekeeping, care, custody, control, direction, protection, safety, and

well-being of people confined at FCI Tallahassee, including Plaintiff.

      35.    At all times relevant hereto, Officer Hatten was an agent,

representative, or employee of Defendant United States. At all times relevant hereto,

Officer Hatten acted within the course and scope of said agency, representation, or



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employment and was within the scope of his authority, whether actual or apparent.

At all times relevant hereto, Officer Hatten was the authorized agent, partner,

servant, or contractor of Defendant United States, and the acts and omissions herein

alleged were done by Officer Hatten acting through such capacity, within the scope

of his authority, with the permission, ratification, approval, and consent of Defendant

United States.

      36.    At all times relevant hereto, Officer Hatten’s colleagues and

supervisors, including other recreational officers and correctional officers, were also

agents, representatives, or employees of Defendant United States. At all times

relevant hereto, these officers acted within the course and scope of said agency,

representation, or employment and were within the scope of their authority, whether

actual or apparent. At all times relevant hereto, these officers were the authorized

agents, partners, servants, or contractors of Defendant United States, and the acts

and omissions herein alleged were done by these officers acting through such

capacity, within the scope of their authority, with the permission, ratification,

approval, and consent of Defendant United States.

                                  JURY DEMAND

      37.    Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff hereby

demands a trial by jury on all issues and claims in this action that are so triable.




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                            FACTUAL BACKGROUND

 INDICATIONS AND WARNING SIGNS OF HATTEN’S SEXUAL ABUSE

      38.    Plaintiff hereby repeats, reiterates, and incorporates by reference

paragraphs 29 through 36 with the same force and effect as if fully set forth herein.

      39.    Congress enacted the Prison Rape Elimination Act (hereinafter

“PREA”) in 2003, 34 U.S.C. §§ 30301, et seq. to establish national standards for

preventing and responding to sexual abuse of prisoners. Pursuant to PREA, the U.S.

Department of Justice promulgated certain regulations, which remain binding on all

BOP facilities, including FCI Tallahassee. See 28 C.F.R. § 115. Under PREA

regulations, BOP is required to “train all employees who may have contact with

inmates” on the following: its “zero-tolerance policy for sexual abuse and sexual

harassment”; “the right of inmates to . . . be free from retaliation for reporting sexual

abuse and sexual harassment”; “signs and dynamics of prison sexual abuse”; and

“how to avoid inappropriate relationships with inmates.” Id. § 115.31(a).

      40.    In addition, BOP’s policies titled “program statements” set forth rules

and procedures that all BOP employees were required to follow during relevant time

periods:

             a. Program Statement 3420.11 (Standards of Employee Conduct)

                 mandates that “[n]o employee shall engage in, or allow another




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           person to engage in, sexual behavior with an inmate. There is never

           any such thing as consensual sex between staff and inmates.”

        b. Program Statement 3420.11 states that BOP employees are subject

           to administrative action, up to and including removal, for any

           inappropriate contact, sexual behavior, or relationship with

           prisoners, regardless of whether such contact constitutes a

           prosecutable crime. Physical contact is not required to subject an

           employee to sanctions for misconduct of a sexual nature.

        c. Program Statement 3420.11 goes on to state that “[a]ll allegations of

           sexual abuse will be thoroughly investigated and, when appropriate,

           referred to authorities for prosecution.”

        d. Program Statement 5324.12 (Sexually Abusive Behavior Prevention

           and Intervention Program) implements a zero-tolerance policy

           toward all forms of staff-on-prisoner sexual abuse, including sexual

           harassment.

        e. Program Statement 5324.12 mandates that “[a]ll staff must report

           information concerning incidents or possible incidents of sexual

           abuse or sexual harassment to the Operations Lieutenant, or where

           appropriate, in accordance with the Program Statement 3420.11.”




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      41.     BOP policy requires training of all employees who may have contact

with prisoners on how to fulfill their responsibilities under these rules and

procedures.

      42.     Upon information and belief, Officer Hatten’s employment at FCI

Tallahassee began in or around 2018.

      43.     Prior to being placed in FCI Tallahassee, Officer Hatten worked at

Marianna Camp, another female BOP facility that is located about an hour away

from FCI Tallahassee in the State of Florida. Upon information and belief, BOP

personnel at Marianna Camp were made aware of Officer Hatten giving commissary

items or paying for phone minutes for certain women prisoners, which was a warning

sign of inappropriate relations. Knowing this, BOP still placed Officer Hatten in FCI

Tallahassee, a female facility where he would have access to more victims.

      44.     Throughout the time that Officer Hatten worked as a sports specialist

and/or correctional officer at FCI Tallahassee, from around 2018 through 2022, the

warning signs of his perversion were ample and obvious to any reasonable BOP

personnel. He utilized similar methods to stalk, assault, abuse, and terrorize at least

11 different victims incarcerated at FCI Tallahassee. His routines and modus

operandi involved flagrant violations of FCI Tallahassee’s security and operating

protocols, which were and should have been obvious to other BOP personnel.




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      45.    From 2020 onward, certain agents, servants, contractors, and

employees of BOP, including but not limited to unit managers, counselors,

correctional officers, lieutenants, department heads, captains, supervisors, and

executive staff, observed Officer Hatten placing himself in posts where he would be

alone and unsupervised with prisoners on their job details. For instance, he

volunteered to supervise women working at rec when other officers were not around,

and he also worked overtime in food services to supervise women working in the

kitchen.

      46.    From 2020 onward, certain agents, servants, contractors, and

employees of BOP, including but not limited to unit managers, counselors,

correctional officers, lieutenants, department heads, captains, supervisors, and

executive staff, observed Officer Hatten spending substantial amounts of time alone

with incarcerated women. They also observed him escorting certain women to

various isolated areas within FCI Tallahassee, which were typically “blind spots”

that were not captured by security cameras. There was no legitimate explanation as

to why Officer Hatten frequently accompanied incarcerated women to these blind

spots by himself.

      47.    Officer Hatten, as a correctional officer, knew how to identify various

blind spots that fell outside of the view of the security cameras, such as a shed with

recreational tools, commonly known as “rec shack,” and the second floor of a



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recreational building, commonly known as “upstairs rec.” He repeatedly took

advantage of these known blind spots to brutally abuse his victims, including Ms.

Hernandez, by raping them, digitally penetrating their vaginas, forcing them to

perform oral sex, and fondling their body. Other BOP officers knew of, and

disregarded, Officer Hatten’s abnormal behavior of repeatedly isolating himself with

certain prisoners.

      48.    Upon information and belief, there were cameras outside of the rec

shack and the recreational building but no cameras inside to capture what was

happening. Officer Hatten knew this and would lock himself inside with Plaintiff

Ms. Hernandez and other women.

      49.    Officer Hatten also abused his authority and flaunted his power by

providing his victims with certain benefits or promises of benefits. For example,

Officer Hatten frequently told Ms. Hernandez that he was “protecting” her job,

implying that it would be taken away if she tried to report him. Officer Hatten also

frequently brought contraband and gifts to his victims, including Ms. Hernandez,

which should have been obvious to other BOP personnel. Had BOP personnel

conducted the needed investigations into the benefits that certain prisoners had

received from Officer Hatten, they would have discovered and stopped his sexual

abuse before the first time he raped Plaintiff in 2021.




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      50.    At FCI Tallahassee, Officer Hatten quickly developed a widespread

reputation among women prisoners for being a “pervert” who said and did

inappropriate things to them. This reputation was well known to other BOP

personnel, including but not limited to unit managers, counselors, correctional

officers, lieutenants, department heads, captains, supervisors, and executive staff.

      51.    Throughout 2020, with the COVID-19 pandemic, Officer Hatten’s

sexual abuse escalated. For social distancing purposes, correctional officers

including Officer Hatten were given more power to isolate prisoners and control the

prisoners’ movements throughout the facility. Officer Hatten used this power to

isolate, terrorize, and abuse his victims at his will. In addition, with COVID-19, other

officers, particularly those working in recreation, were even less likely to oversee or

intervene in Officer Hatten’s suspicious conduct than before.

      52.    Upon information and belief, Officer Cornelius Jones (“Officer

Jones”), another correctional officer who was frequently assigned to recreation,

worked hours that overlapped with Officer Hatten’s shift. Instead of accompanying

and monitoring Officer Hatten as he should have, Officer Jones allowed Officer

Hatten to take women to various isolated locations, including the rec shack, by

himself. Officer Jones knew or should have known that Officer Hatten was acting

inappropriately with certain women and/or bringing them contraband gifts.

Nonetheless, Officer Jones turned a blind eye and allowed Officer Hatten unfettered



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access to his victims. Officer Jones himself was verbally abusive to prisoners, calling

them ugly, fat, “bitch,” or sexually degrading terms, supporting his dismissive

attitude towards Officer Hatten’s sexually abusive conduct.

      53.    Upon information and belief, Officer Eric Love (“Officer Love”),

another correctional officer who was frequently assigned to recreation, worked hours

that overlapped with Officer Hatten’s shift. Instead of accompanying and monitoring

Officer Hatten as he should have, Officer Love allowed Officer Hatten to take

women to various isolated locations, including the rec shack, by himself. Officer

Love knew or should have known that Officer Hatten was acting inappropriately

with certain women and/or bringing them contraband gifts. Upon information and

belief, Officer Love had witnessed a prior incident wherein another officer at FCI

Tallahassee, Jimmy Highsmith, had sexually abused a woman and was eventually

convicted of that crime. Therefore, Officer Love knew or should have known the

indications, signs, and concerns of Officer Hatten’s sexually abusive conduct.

Nonetheless, Officer Love turned a blind eye and allowed Officer Hatten unfettered

access to his victims.

      54.    Upon information and belief, Officer Larry Mitchell (“Officer

Mitchell”), another correctional officer who was frequently assigned to recreation,

worked hours that overlapped with Officer Hatten’s shift. Instead of accompanying

and monitoring Officer Hatten as he should have, Officer Mitchell allowed Officer



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Hatten to take women to various isolated locations, including the rec shack, by

himself, and often personally sent prisoners, including Ms. Hernandez, to see Officer

Hatten by themselves. Officer Mitchell knew or should have known that Officer

Hatten was acting inappropriately with certain women and/or bringing them

contraband gifts. Nonetheless, Officer Mitchell turned a blind eye and allowed

Officer Hatten unfettered access to his victims.

      55.    Upon information and belief, Officer Nicole Lakoe Jackson (“Officer

Jackson”), another correctional officer who was frequently assigned to recreation,

worked hours that overlapped with Officer Hatten’s shift. Instead of accompanying

and monitoring Officer Hatten as she should have, Officer Jackson allowed Officer

Hatten to take women to various isolated locations, including the rec shack, by

himself, and often personally sent prisoners, including Ms. Hernandez, to see Officer

Hatten by themselves. Officer Jackson knew or should have known that Officer

Hatten was acting inappropriately with certain women and/or bringing them

contraband gifts. In fact, around October 2021, Officer Jackson made a comment to

Ms. Hernandez and another prisoner that, “y’all need to go sit outside with y’all

daddy,” referring to Officer Hatten. Despite her apparent awareness of inappropriate

relationships between Officer Hatten and certain women, Officer Jackson turned a

blind eye and allowed Officer Hatten unfettered access to his victims.




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      56.    Upon information and belief, Officer Lee Adamson (“Officer

Adamson”), was the recreation supervisor with authority over Officer Hatten as well

as Officers Jones, Love, Mitchell, and Jackson. Instead of monitoring, supervising,

and disciplining Officer Hatten as he should have, Officer Adamson allowed Officer

Hatten to take women to various isolated locations, including the rec shack, by

himself. Officer Adamson knew or should have known that Officer Hatten was

acting inappropriately with certain women and/or bringing them gifts. Nonetheless,

Officer Adamson turned a blind eye and allowed Officer Hatten unfettered access to

his victims. Upon information and belief, Officer Adamson favored Officer Hatten

over other recreational officers and condoned his inappropriate behavior,

emboldening Officer Hatten to use the prison facility as his personal brothel. For

example, Officer Adamson would give Officer Hatten the first chance at overtime

assignments before other recreation officers.

      57.    Given the overtness and frequency with which Officer Hatten preyed

upon women who were under his custody, other BOP personnel suspected or should

have suspected that Officer Hatten was sexually abusing prisoners. Binding PREA

regulations mandate staff reporting, whereby all BOP staff are required to “report

immediately . . . any knowledge, suspicion, or information regarding an incident

of sexual abuse or sexual harassment that occurred in a facility. . .; retaliation against

inmates or staff who reported such an incident; and any staff neglect or violation of



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responsibilities that may have contributed to an incident or retaliation.” 28 C.F.R. §

115.61(a). When an incarcerated person is subject to a substantial risk of imminent

sexual abuse, BOP shall take immediate action to protect that person. See 28 C.F.R.

§ 115.62. In addition, administrative investigations of alleged sexual abuse by a staff

member are required to proceed “promptly, thoroughly, and objectively for all

allegations, including third-party and anonymous reports.” Id. § 115.71(a). The

presumptive disciplinary sanction for substantiated allegations of sexual abuse is

termination. See id. § 115.76(b). Victims shall also be offered medical and mental

health care by the BOP. See id. § 115.83.

      58.    Defendant United States and its agents, servants, contractors, and

employees including but not limited to Officers Jones, Love, Mitchell, Jackson, and

Adamson had numerous opportunities to follow the above-mentioned mandates and

stop Officer Hatten’s misconduct. Officer Hatten’s actions were abnormal, obvious,

and suspicious for sexual misconduct. In addition, upon information and belief,

correctional officers in the control room were charged with monitoring the security

cameras and following up on any suspicious activities that they noticed on the

cameras. These officers saw or should have seen that Officer Hatten frequently

disappeared into unmonitored areas with prisoners who were not authorized to be in

those areas alone with an officer. Nevertheless, BOP personnel took no actions to

investigate or stop Officer Hatten’s suspicious and recurrent behavior.



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      59.    Defendant United States and its agents, servants, contractors, and

employees failed to investigate, discipline, supervise, monitor, question, or stop

Officer Hatten despite numerous indications of sexual misconduct. This was in direct

violation of mandatory BOP policies, was not related to a discretionary function or

duty, and served no plausible penological policy purpose.

      60.    Defendant United States and its agents, servants, contractors, and

employees including but not limited to Officers Jones, Love, Mitchell, Jackson, and

Adamson condoned, permitted, acquiesced to, consented to, and tacitly approved

Officer Hatten’s longstanding abuse of prisoners. Officer Hatten’s ongoing abuse of

multiple prisoners at FCI Tallahassee was so widely known throughout the prison

that the staff turned it into a running joke. Instead of following protocols to protect

the prisoners in their care, the prison staff sat around making jokes at their expense.

Their actions – and inactions – allowed Officer Hatten to rape and abuse multiple

women with impunity.

      61.    Before Officer Hatten began to rape Ms. Hernandez in or around

October 2021, agents, servants, contractors, and employees of BOP, including at

least some of the unit managers, counselors, correctional officers, lieutenants,

department heads, captains, supervisors, executive staff, associate wardens,

wardens, and investigators at FCI Tallahassee, were aware of suspicions, indications,

or concerns regarding Officer Hatten’s sexual misconduct. They were aware of



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Officer Hatten’s frequent protocol violations and unexplained suspicious

interactions with certain prisoners. Nonetheless, they refused to take the required

action to report, monitor, supervise, or investigate Officer Hatten.

      62.    It is extraordinary and inexplicable that Defendant United States

continued to allow Officer Hatten to spend time alone with female prisoners in

isolation, creating daily opportunities for him to commit additional sexual assaults.

      63.    The fact that Officer Hatten could get away with sexual abuse while

flagrantly violating BOP’s policies led his victims, including the Plaintiff, to believe

that he was untouchable. The victims had legitimate concerns that they would suffer

retaliation or other substantial harm if they were to report Officer Hatten’s assaults.

To further fuel this fear, Officer Hatten verbally threatened his victims, including the

Plaintiff, to ensure their silence. He reminded his victims that he had the power to

take away their privileges, transfer them to a different facility away from their

families, put them in the special housing unit (“SHU”), or take away their job.

      64.    BOP personnel at FCI Tallahassee, including lieutenants, department

heads, captains, supervisors, executive staff, associate wardens, wardens, and

investigators, knew Officer Hatten’s reputation as a sexual predator. They also knew

that female prisoners are reluctant to come forward with information regarding staff

sexual abuse for fear of reprisal and loss of work privileges. Despite these known

issues, FCI Tallahassee granted Officer Hatten unrestricted and unsupervised contact



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with numerous women, emboldening him to abuse his position of authority to

threaten, violate, and assault his victims.

             HISTORY OF SEXUAL ABUSE AT FCI TALLAHASSEE
                          – “DEN OF DESPAIR”

       65.    FCI Tallahassee has a long and sordid history of sexual abuse within its

facility by correctional officers against the prisoners whom they were duty-bound to

protect.

       66.    The facility first gained notoriety in 2006 when there was a shoot-out

between a correctional officer and Federal Bureau of Investigation (“FBI”) agents

that led to the death of two people. In that case, the FBI was present to investigate

and arrest six guards for sexually abusing the female prisoners in their custody.1

       67.    FCI Tallahassee has one of the highest rates of staff-on-prisoner abuse

complaints in the country, receiving more than 130 complaints since 2012.2 It is

highly likely that the problem is even more widespread than this figure suggests, but

it goes largely unchecked, because of cultural tolerance, cover-ups, and

organizational reprisals against prisoners who dare to report staff abuse.

       68.    Physician assistant Paul Rolston is alleged to have sexually abused

numerous women under his care in FCI Tallahassee beginning in around 2018.


1
  2 federal employees die in Fla. prison shooting, NBC News, June 21, 2006 at 9:23 AM,
https://www.nbcnews.com/id/wbna13415618
2
  Silja J.A. Talvi, WOMEN REPORT ‘RAMPANT’ SEXUAL ABUSE AT FEDERAL PRISON WHERE
GHISLAINE MAXWELL IS HELD, The Appeal, Apr 25, 2023, https://theappeal.org/fci-tallahassee-
sexual-abuse-women-prison-ghislaine-maxwell/


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Despite several civil complaints filed against PA Rolston, instead of firing this serial

abuser, FCI Tallahassee simply shifted him into a male facility, continuing the cycle

of silence and abuse at FCI Tallahassee and further perpetuating the environment

that protected the abusers at the cost of vulnerable women.3

       69.     In August 2021, Officer Phillip Golightly was sentenced to 24-months’

imprisonment for sexually abusing female prisoners in his care. 4 Even though

Officer Golightly was indicted for, and pled guilty to, sexual abuse of only one

victim, additional victims who suffered sexual abuse by Officer Golightly were

acknowledged as part of the court records. 5 Upon information and belief, Officer

Hatten and Officer Golightly, a convicted sexual abuser, were friendly with each

other and knew about each other’s sexually abusive conduct. In the same way that

Officer Hatten summonsed his victims to the isolated rec shack, Officer Golightly

called his victims to food services to sexually assault them, even though they did not

even work in food services.

       70.     In December 2021, another former recreational specialist at FCI

Tallahassee, Officer Jimmy Lee Highsmith, was found guilty by a jury of sexually




3
  Id.
4
  Former Bureau of Prisons Correctional Officer Sentenced to 24 Months In Federal Prison For Sexually
Abusing Prisoners, Press Release U.S. Attorney’s Office, Northern District of Florida, Aug. 27, 2021,
https://www.justice.gov/usao-ndfl/pr/former-bureau-prisons-correctional-officer-sentenced-24-months-
federal-prison-sexually.
5
  Id.


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abusing a prisoner. 6 Upon information and belief, numerous complaints were filed

against Officer Highsmith by women at FCI Tallahassee beginning around 2014, and

yet BOP personnel at FCI Tallahassee ignored these complaints to keep him

employed as a supervisor for women working at recreation—same as in Officer

Hatten’s case.

        71.     There are many similarities in modus operandi of Officers Golightly,

Highsmith, and Officer Hatten’s sexual abuse, including taking women to off-

camera areas by themselves and using their jobs as a basis for sexual coercion.

Therefore, BOP personnel at FCI Tallahassee, including but not limited to

recreational officers, supervisors, executive staff, and investigators, knew or should

have known that Officer Hatten’s conduct was highly indicative of sexual abuse.

Nonetheless, BOP personnel violated their mandatory obligations under applicable

BOP protocols as well as regulations including 28 CFR § 115.61, wherein all staff

members must immediately report “any knowledge, suspicion, or information

regarding an incident of sexual abuse or sexual harassment that occurred in a

facility.”

        72.     BOP personnel’s reckless disregard of the safety and welfare of victims

including Plaintiff Ms. Hernandez is highlighted by the fact that multiple


6
 Jury Convicts Former Tallahassee Federal Correctional Officer Of Sexual Abuse of Prisoner, Press
Release U.S. Attorney's Office, Northern District of Florida, Dec. 17, 2021, https://www.justice.gov/usao-
ndfl/pr/jury-convicts-former-tallahassee-federal-correctional-officer-sexual-abuse-inmate.


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correctional officers were sexually assaulting women incarcerated at FCI

Tallahassee throughout the relevant times. Officer Hatten fed into, and was also

encouraged and enabled by, this toxic culture at FCI Tallahassee.

       73.     Despite BOP’s purported zero-tolerance policy, sexual abuse of

incarcerated people is an issue endemic to BOP, beyond FCI Tallahassee as well. In

2022, the U.S. Senate Permanent Subcommittee on Investigations issued a report

(hereinafter “the PSI Report”), which found that over the past decade, BOP

employees sexually abused female prisoners in at least two-thirds of federal prisons

that have held women (19 out of 29 facilities). The PSI Report found that Defendant

United States’ management failures enabled continued sexual abuse of incarcerated

people by BOP personnel. The PSI Report specifically found that the United States,

through BOP, “failed to detect, prevent, and respond to sexual abuse of female

prisoners in its custody.” 7

       74.     Despite this established history of sexual abuse in BOP custody and at

FCI Tallahassee specifically, Defendant United States failed to institute a reliable

practice for detecting and stopping sexual abuse of incarcerated people. As a telling

example, FCI Tallahassee’s PREA audit reports that were published on or around

July 6, 2021, and July 4, 2023, claimed that FCI Tallahassee was compliant with all


7
 S. PERMANENT SUBCOMM. ON INVESTIGATIONS, REP. ON SEXUAL ABUSE OF FEMALE
INMATES IN FEDERAL PRISONS, 18 (Dec. 13, 2022), https://www.ossoff.senate.gov/wp-
content/uploads/2022/12/PSI-Embargoed-Staff-Report-re-Sexual-Abuse-of-Female-Inmates-in-Federal-
Prisons.pdf at 4.


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PREA standards. Even though this audit report was published after PA Rolston and

Officers Golightly, Highsmith, and Hatten’s sexual abuse became public through

criminal investigation, this obvious non-compliance with PREA standards cannot be

found anywhere in the reports. This blatant deficiency reflects the culture of

Defendant United States of turning a blind eye to BOP sexual abuse of incarcerated

people.

      75.    Based on the history of sexual abuse at FCI Tallahassee, Defendant

United States had actual notice and knowledge that correctional officers could abuse

their position of power to sexually assault prisoners, including in off-camera areas.

      76.    Nevertheless, Defendant United States failed to take adequate steps to

prevent Officer Hatten from engaging in recurrent sexual abuse, including by

installing additional security cameras to eliminate the blind spots. This was in direct

violation of mandatory and non-discretionary BOP policies, which required that

BOP staff eliminate any known blind spots and install sufficient video monitoring to

prevent sexual abuse.

      77.    Upon information and belief, from around August 2019 through July

2022, Officer Hatten sexually abused numerous women in his custody at FCI

Tallahassee. Other than Ms. Hernandez, ten (10) additional women have reported

Officer Hatten’s abuse to the BOP and/or FBI and other external investigative

agencies.



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      78.    Defendant United States and its agents, servants, contractors, and

employees failed to remedy the culture of staff sexual abuse at FCI Tallahassee

before, during, and after Officer Hatten’s rapes of the Plaintiff.

            OFFICER HATTEN’s SEXUAL ABUSE OF PLAINTIFF

      79.    Emboldened by other BOP personnel’s failure to stop him, with

increasing fearlessness, Officer Hatten used the tools available to him through the

BOP, such as access to prisoners, control over their jobs and livelihood, and blind

spots from cameras, to violate and terrorize his victims, including Plaintiff Ms.

Hernandez.

      80.    Ms. Hernandez first arrived at FCI Tallahassee in or around July 2015

at 39 years of age and remained incarcerated there until around August 2022.

      81.    During this time, Plaintiff was under the custodial care, supervision,

and control of the agents, servants, employees, and independent contractors of

Defendant United States and/or BOP, including Officer Hatten and other officers at

FCI Tallahassee whose identities are not presently known. As a matter of both federal

and state law, Defendant United States had an absolute non-delegable duty to see

that prisoners in its custody receive adequate custodial care and supervision; to

maintain the safety, health, and well-being of the prisoner population; and to prevent

prisoners such as the Plaintiff from being subjected to undue harm and/or cruel and




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unusual punishment. Defendant United States abjectly failed to carry out these

duties.

      82.    At FCI Tallahassee, Ms. Hernandez initially worked as a head tutor in

the education center, but in or around January 2017, she was transferred to the

recreation department as a wellness clerk. Her job duties included writing and

creating sentry records for wellness classes. She enjoyed her job and found it to be

a respite from the 10-year prison sentence ahead of her.

      83.    Ms. Hernandez first encountered Officer Hatten when he began

working at FCI Tallahassee full-time in or around 2019. At that time, Ms. Hernandez

was working for other recreation supervisors, and Officer Hatten worked in the

upstairs recreation detail. Officer Hatten began to seek out Ms. Hernandez,

increasingly crossing the professional and ethical boundaries between correctional

officer and prisoner.

      84.    Officer Hatten began grooming Ms. Hernandez by making

inappropriate sexual comments to her and bringing her gifts, like outside food that

was unavailable in the prison.

      85.    Other BOP personnel, with due diligence, should have noticed that Ms.

Hernandez had routine access to things that she could only have received from an

officer with outside contact. This type of favoritism is expressly prohibited by the

BOP Program Statement and should have been immediately reported and



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investigated so that it would not progress further. Instead, Officer Hatten was

allowed unfettered access to Ms. Hernandez.

      86.    Prior to COVID-19 pandemic, Officer Hatten routinely retrieved Ms.

Hernandez to perform private work detail, including cleaning the upstairs recreation

area, so that they would spend alone time. During these private work sessions,

Officer Hatten continued to groom Ms. Hernandez, gaining her trust and testing the

waters to see when he would be able to take advantage of her sexually.

      87.    During the pandemic, Officer Hatten gained more control over

escorting certain women to their work and isolating them in certain locations at rec.

With fewer people around, he was able to isolate his victims into the upstairs rec or

rec shack with little concern that other officers would walk in. Around mid-2020, he

began to lock certain women, including Ms. Hernandez, into the rec shack, so they

would not be able to escape him. He also began to make more explicit sexual

comments to Ms. Hernandez, including about his penis. No one intervened.

      88.    Around this same time, Officer Hatten began groping, touching, and

kissing Ms. Hernandez when they were alone. There were numerous occasions when

he would grab her waist, pull her close to him, and graze his penis against her body.

      89.    Officer Hatten made sure that he was the only correctional officer

supervising prisoners working recreation details, so that he would spend time alone

with his victims. For example, he would take women to the rec shack while other



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officers were in upstairs rec, and vice versa. This was in violation of the operating

protocols by which at least two officers should have supervised women working

recreation details. However, none of Officer Hatten’s colleagues, including Officers

Jones, Love, Mitchell, and Jackson, or their supervisor Officer Adamson, intervened

to stop Officer Hatten’s inappropriate conduct.

      90.    In or around summer 2021, Officer Mitchell temporarily left FCI

Tallahassee to work at another facility. This allowed Officer Hatten the opportunity

to take over Officer Mitchell’s 6:00am weekend shift. Even though Ms. Hernandez,

on paper, was under the supervision of Officer Jackson, Officer Hatten took every

opportunity to call Ms. Hernandez out to recreation at 6:00am to see him. This was

well outside the normal routine and should have been noticed by other officers,

including Officers Adamson, Jones, Love, and Jackson, as well as Ms. Hernandez’s

unit team.

      91.    Officers Adamson, Jones, Love, and Jackson violated their mandatory

obligations under applicable BOP protocols as well as regulations including 28 CFR

§ 115.61, wherein all staff members must immediately report “any knowledge,

suspicion, or information regarding an incident of sexual abuse or sexual harassment

that occurred in a facility.” In the alternative, if these officers in fact reported their

suspicion or knowledge pursuant to the regulations, the administrators who received




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the report failed to take appropriate action to immediately investigate and sanction

Officer Hatten for his conduct.

      92.     Officer Hatten’s actions towards Ms. Hernandez escalated to coercive

sexual intercourse for the first time in the rec shack, in or around October 2021. Ms.

Hernandez felt shocked but thought that the only option she had as a prisoner was to

comply and keep silent. The rapes continued over the course of a year in the rec

shack, rec shack bathroom, and/or upstairs rec until August 2022, on at least a

weekly basis. Officer Hatten never used protection and always ejaculated inside of

Ms. Hernandez’s vagina, without her consent.

      93.     Other prisoners were required to follow the rules to be either escorted

by an officer from their unit to recreation or to go with other prisoners in their unit,

but at Officer Hatten’s behest, Ms. Hernandez often walked from her unit to the rec

shack by herself with no supervision. Once there, Officer Hatten would lock the door

and engage in sexual acts with Ms. Hernandez. Officer Hatten would not allow other

prisoners into the rec shack until around 7:30am, which was also notable and

suspicious.

      94.     In addition to using his position of authority to induce Ms. Hernandez

to meet him in the rec shack at 6:00am, during the day, Officer Hatten frequently

requested Officer Jackson to send Ms. Hernandez to him in his office or upstairs rec

despite her not being assigned to his work detail. On other occasions, when Officer



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Jackson was off-duty, Officer Hatten would go to Ms. Hernandez’s housing unit to

tell her to come to rec, where he would again sequester her alone, while other

prisoners cleaned other locations of recreation detail.

      95.    Upon information and belief, Officer Jackson frequently asked Ms.

Hernandez why Officer Hatten would constantly ask for Ms. Hernandez instead of

working with his own crew. Officer Jackson also made a comment referring to

Officer Hatten as “y’all daddy” to Ms. Hernandez and another prisoner, indicating

her awareness of his inappropriate attentions. Despite this, Officer Jackson never

reported her questions, concerns, or suspicions about Officer Hatten’s actions, or

took any other steps required by BOP protocols to ensure the protection and welfare

of Ms. Hernandez. In addition, Officer Jackson continued to knowingly send Ms.

Hernandez to be alone with Officer Hatten.

      96.    Consistent with his modus operandi, Officer Hatten habitually took

advantage of his institutional power, knowledge, and resources to isolate Ms.

Hernandez in off-camera areas without interruption. There were no security cameras

that captured the inside of the rec shack, upstairs rec, or Officer Hatten’s office.

      97.    Upon information and belief, there were several BOP officers who were

tasked with monitoring the security cameras throughout FCI Tallahassee.

Incarcerated people are not allowed to be alone in an off-camera area with an officer.

Therefore, the BOP officers who were monitoring the security cameras were, and/or



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should have been, suspicious of Officer Hatten spending so much time alone and

off-camera with Ms. Hernandez. Nonetheless, no BOP personnel came to

investigate, intervene, or inquire as to Officer Hatten’s interactions with Ms.

Hernandez. This failure cannot be explained without deliberate indifference,

recklessness, and carelessness of the Defendant United States and its agents,

servants, contractors, and employees towards the risk of sexual abuse that

incarcerated women face.

         98.   Over time, Officer Hatten provided Ms. Hernandez with additional

contraband gifts such as jewelry, makeup, nail polish, pens, hair conditioner, body

wash, and tattoo ink from outside the facility. These gifts, clearly given to Ms.

Hernandez by a staff member, resulted in Ms. Hernandez getting disciplined and sent

to the SHU.

         99.   It is extraordinary and egregious that, while penalizing Ms. Hernandez

for obtaining gifts from staff, BOP personnel at FCI Tallahassee utterly failed to

investigate where the gifts came from—when it was apparent that they were from

Officer Hatten. Had BOP personnel conducted the needed investigation into their

own staff as required, they would have discovered Officer Hatten’s conduct much

earlier—and prevented him from raping Ms. Hernandez over and over and over

again.




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      100. In or around October 2021, Ms. Hernandez was sent to the SHU for an

investigation regarding suspected preferential treatment by recreation staff. Not only

did this unfairly penalize Ms. Hernandez instead of protecting her, but the SHU

placement also gave Officer Hatten a further opportunity to accost, abuse, and

assault Ms. Hernandez. The morning Ms. Hernandez was sent to the SHU, Officer

Hatten raped her.

      101. Officer Hatten also took on additional shifts or overtime at the SHU and

left his assigned posts to go to the SHU, so he could continue harassing Ms.

Hernandez while she was in confinement. Other BOP personnel knew or should have

known that Officer Hatten’s sudden interest in the SHU was highly suspicious, but

they did not intervene.

      102. Throughout the time that she was isolated in the SHU, Ms. Hernandez

did not feel that she could safely report Officer Hatten’s actions. She did not feel that

she would be believed if she were to report Officer Hatten. She felt that Officer

Hatten would continue to have unfettered access to her in the SHU, and she did not

even know when she would be released from the SHU. Prisoners lose access to the

bare modicum of privileges they have, including access to phone, mail, and

recreation time, while they are in the SHU.

      103. Ms. Hernandez was in the SHU for about three months. When she was

released on or around December 30, 2021, Officer Hatten told Ms. Hernandez that



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he trusted her not to disclose any information about him. Ms. Hernandez did not

know what he would have done if she had disclosed his sexual abuse, but she

continued to fear retaliation.

      104. As a further punishment for possession of the contraband given to her

by Officer Hatten, Officer Adamson, the recreation supervisor, fired Ms. Hernandez

from her recreation job and told her that the termination was permanent.

      105. However, a few weeks later, in or around January 2022, Officer Hatten

told Ms. Hernandez in front of Officer Adamson to get a crew together so that she

could be back on the recreation detail. Even though this was highly suspicious and

inappropriate, Officer Adamson did not object and allowed Ms. Hernandez to now

work directly under Officer Hatten in recreation. By this behavior, Officer Adamson

showed that he condoned Officer Hatten’s inappropriate conduct.

      106. When Officer Hatten could not get assigned to recreation detail, he

would pick up additional shifts in food services, so that he could interact with Ms.

Hernandez in the kitchen. He would find every opportunity to have unmonitored

access to prisoners, including Ms. Hernandez, and there were many opportunities

for other BOP personnel, including but not limited to Officers Jones, Love, Jackson,

and Adamson, to report and stop Officer Hatten’s suspected sexual abuse.

      107. Officer Hatten’s abuse of prisoners, especially of Ms. Hernandez, was

not a well-kept secret. Upon information and belief, Officer Hatten publicly



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acknowledged his sexual liaison with Ms. Hernandez on or around May 8, 2022, in

front of prisoners and staff. At a Mother’s Day celebration at FCI Tallahassee on that

day, Officer Hatten took the microphone to give a special, public thanks to Ms.

Hernandez, stating: “I couldn’t have done this without the help of Ms. Hernandez.”

      108. Upon information and belief, Officer Hatten also provided Ms.

Hernandez with gifts for Mother’s Day, such as two pairs of new weight gloves.

      109. Officer Hatten continued to give Ms. Hernandez things that were not

available at the facility, such as liquid eyeliner. No officer spoke to Ms. Hernandez

about how she acquired contraband items that she openly used at FCI Tallahassee.

Upon information and belief, providing contraband to prisoners is a common,

predatory tactic used in the context of sexual abuse and should have resulted in

termination of Officer Hatten.

      110. Despite being aware of Officer Hatten’s suspicious behavior, his

colleagues and supervisors refused to take any action, allowing him to act with

impunity. Officer Hatten began to make explicit threats to Ms. Hernandez that if she

were to resist him, he would report her for contraband and place her in the SHU. He

used his power and authority as a correctional officer to provide Ms. Hernandez with

contraband, initially as a coercive tactic but later also for extortion.

      111. In or around June 2022, Officer Hatten ordered Ms. Hernandez to

remove a tattoo of her children’s father’s name from her body. He gave her some ink



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to do so. Ms. Hernandez was caught by another officer while getting the tattoo

removed. Although tattoo ink is completely banned at FCI Tallahassee, not a single

staff member questioned Ms. Hernandez about who provided her with the ink.

Instead, BOP penalized Ms. Hernandez alone and put her in the SHU again.

       112. Upon information and belief, Officer Hatten again visited Ms.

Hernandez in the SHU in the summer of 2022. Upon information and belief, other

officers, such as Lieutenant FNU Paramour, observed Officer Hatten visiting Ms.

Hernandez’s SHU cell, even though he had no legitimate purpose for being there.

Nonetheless, no BOP personnel questioned Officer Hatten or Ms. Hernandez about

these visits.

       113.     In or around July 2022, Officer Mitchell returned to FCI Tallahassee

and became aware of questionable contact between Officer Hatten and Ms.

Hernandez. Officer Mitchell re-claimed his 6:00am weekend shifts, and Officer

Hatten would come in at 10:00am instead. Officer Mitchell frequently sent Ms.

Hernandez alone to Officer Hatten’s office in upstairs rec at his request, where

Officer Hatten would assault and threaten her. Once, Officer Hatten kept Ms.

Hernandez in his office for so long that Officer Mitchell remarked to Ms. Hernandez

that he thought she had left the rec area and gone back to her housing unit. There

were also other occasions when Officer Mitchell asked Ms. Hernandez why Officer

Hatten always needed her to “hold his hand” to help him with his job. Nonetheless,



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there is no indication that Officer Mitchell spoke to either Officer Hatten or

supervisors directly about these irregular and peculiar incidents.

      114. In or around July 2022, Officer Mitchell was told by another prisoner

that Officer Hatten frequently locked Ms. Hernandez into the rec shack. Officer

Mitchell’s response was that Officer Hatten could not do that. Officer Mitchell

further said that his own mother had been imprisoned and therefore he did not think

it was okay for prisoners to be taken advantage of. While Officer Mitchell may have

attempted to provide emotional support to victims of Officer Hatten with these

words, his platitudes were wholly insufficient to protect them and constituted a total

failure of his responsibility to report what he had learned.

      115. Officer Mitchell told Ms. Hernandez that they would have a follow-up

conversation about Officer Hatten locking her into the rec shack. However, he never

spoke to her about it again or followed up on it as he was mandated to do.

      116. Around this time, Ms. Hernandez also spoke to Officer Love and

Officer Jackson about Officer Hatten locking her into the rec shack. They refused to

report Officer Hatten as they were required to do, and instead told Ms. Hernandez

that they could not do anything without proof. Given their dismissive attitude, Ms.

Hernandez did not feel comfortable sharing the full extent of Officer Hatten’s sexual

abuse with them.




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      117. Over time, Officer Hatten became more brazen in his sexual assaults.

He started to take Ms. Hernandez to the recreational area even during the evening or

other hours when there was no reason to be in the rec. He also began to assault Ms.

Hernandez when other people were within the earshot or in the vicinity. Still, no

officer reported his actions or took any steps to stop the abuse.

      118. The frequency and violence of sexual assaults continued to escalate.

Officer Hatten became increasingly aggressive towards Ms. Hernandez and began

physically assaulting her, at times choking her or throwing her against a wall. He

would threaten her position at recreation, a job he was aware she valued highly. He

constantly reminded her that he was “protecting” her job. Ms. Hernandez interpreted

his comments to mean that she would lose her job, be placed in the SHU, and/or lose

her privileges if she were to put a stop to the sexual abuse. He also made threatening

remarks when raping her, such as “I will fuck you up.” Officer Hatten’s physical and

verbal threats to Ms. Hernandez made her fearful to report his ongoing sexual

harassment and abuse.

      119. In the beginning of August 2022, Officer Hatten and Ms. Hernandez

had a verbal disagreement and Ms. Hernandez tried to leave the rec shack. Officer

Hatten told her to “get her ass back here,” chased her, and violently threw her against

a wall. She was terrified that Officer Hatten’s aggression was getting out of hand.




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Fearful for her physical safety, she decided to take action to defend herself and report

him, despite her fear of reprisals.

      120. Upon information and belief, Ms. Hernandez learned that Officer

Hatten would be away on vacation on or around August 10, 2022. Ms. Hernandez

felt that she could safely report him only when he was away, so she decided that

would be the day she would report him.

      121. Unfortunately, Officer Hatten raped Ms. Hernandez again the evening

before August 10, 2022. At around 7:00pm, he locked her into the rec shack again

and violently forced her to have sex with him, tearing her vagina and causing her to

bleed. Ms. Hernandez felt that she could not resist at all, lest he was to injure her

further. Despite her fear, Ms. Hernandez collected her blood and Officer Hatten’s

semen on a pantyliner, fearing she would not be believed unless she kept the

evidence.

      122. On August 10, 2022, Ms. Hernandez reported Officer Hatten’s rape to

prison officials. She was taken to a clinic for a rape kit and then placed in the SHU

for investigation. The DNA test confirmed that the semen found belonged to Officer

Hatten. Officer Hatten did not return from his vacation and eventually “resigned”

from his employment.

      123. Throughout relevant times, Defendant United States’ agents, servants,

contractors, and employees at FCI Tallahassee, including but not limited to Officers



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Jones, Love, Mitchell, Jackson, Adamson, and/or Paramour, were aware of facts

from which the inference could be drawn that a substantial risk of serious harm

existed to the Plaintiff’s safety under Officer Hatten’s purported custodial,

supervisory, and disciplinary care. Nonetheless, they took no steps to keep the

Plaintiff safe from Officer Hatten, in violation of mandatory BOP policies and

federal regulations.

      124. Defendant United States’ agents, servants, contractors, and employees

knew or should have known of the substantial problems and shortcomings at FCI

Tallahassee: in the training that staff receive regarding sexual abuse; the glaring lack

of security cameras in certain locations of the facility; the system for reporting sexual

abuse complaints; the treatment of victims who reported sexual abuse; the oversight

of the sexual abuse prevention program; the actual violations of BOP security and

operating protocols including by Officer Hatten; and his propensity in engaging in

sexually inappropriate and abusive behavior. They took no reasonable steps to

remedy these issues and instead assumed and/or acquiesced in the risk of injuring

victims such as the Plaintiff, demonstrating a plain disregard of an excessive risk to

Plaintiff’s safety and welfare.

      125. The repeated horrors that Officer Hatten inflicted on the Plaintiff

occurred only as a direct result of the negligence, gross negligence, carelessness,




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recklessness, and deliberate indifference of numerous BOP officials, up and down

the chain of command.

         AFTERMATH OF OFFICER HATTEN’S SEXUAL ABUSE

      126. Even after she reported Officer Hatten, Ms. Hernandez felt

overwhelmed, ashamed, and uncertain regarding how to process her victimization.

As is common for victims of sexual abuse, she blamed herself for having fallen prey

to Officer Hatten’s manipulation and tried to rationalize or minimize his abhorrent

conduct. As a previous survivor of domestic violence, Ms. Hernandez was

particularly vulnerable to Officer Hatten’s coercion and manipulation that turned

into overt aggression.

      127. On or around August 15, 2022, Ms. Hernandez was transferred to FDC

Miami.

      128. Ms. Hernandez felt that this transfer was punitive, as FDC Miami is

much more restrictive than FCI Tallahassee.

      129. At FDC Miami, Ms. Hernandez has lost access to the limited freedoms

she had at FCI Tallahassee, such as video calls with family or outdoor recreational

periods. It is also a co-ed facility, despite Ms. Hernandez’s requests to be placed in

a women’s-only facility given her sexual trauma.




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      130. BOP has also failed to provide proper counseling or psychological

treatment to Ms. Hernandez, despite PREA and BOP mandates to provide her with

such services. See 28 C.F.R. § 115.83.

      131. To this day, Ms. Hernandez is continuing to suffer the costs of her

victimization at Officer Hatten’s hands. She suffers from night terrors about the

physical and sexual abuse she suffered from Officer Hatten, causing an inability to

sleep. Ms. Hernandez has been prescribed sleep medication to assist with these

symptoms, but they do not address the root cause of her trauma.

      132. Ms. Hernandez must take psychiatric medications that she previously

did not need because of Officer Hatten’s sexual assaults. In or around October 2021

when Officer Hatten began to rape her, Ms. Hernandez started to take medication to

treat depression. As she continues to experience flashbacks and dreams about Officer

Hatten choking her in the rec shack, she is now on a different medication. However,

she is not being provided with counseling or therapeutic support, which exacerbates

her declining mental health.

      133. Furthermore, Ms. Hernandez is fearful of suffering retaliation from

BOP personnel who may learn that she had reported another correctional officer’s

sexual abuse. She finds herself questioning whether she made the right decision in

reporting Officer Hatten when there is a clear lack of understanding by the BOP

about the extremely traumatic nature of his sexual assaults.



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       134. As a result of the foregoing, Plaintiff continues to suffer from

debilitating psychological trauma, permanent and catastrophic psychological

injuries, severe emotional distress, permanent physical ailments associated with

psychological injuries, pain, humiliation, loss of enjoyment of life, and loss of

quality of life. These injuries are expected to be permanent. Plaintiff also suffers

from other permanent injuries and deficits that will be established through expert

consultation in this litigation.

       135. Upon information and belief, Plaintiff will require sustained, long-term

intensive psychiatric and/or psychological treatment with appropriate qualified

experts. Even with such professional treatment, it is expected that Plaintiff’s injuries

and damages are permanent and will continue to severely impact her health, welfare,

and daily functioning. To the extent that she suffered sexual victimization prior to

incarceration, Plaintiff’s psychological trauma and the resulting impairment were

exacerbated because of Officer Hatten’s rapes.

                               CLAIMS FOR RELIEF

                           FIRST CLAIM FOR RELIEF

      NEGLIGENCE CLAIM UNDER FEDERAL TORT CLAIMS ACT
                 (Against Defendant United States)

       136. Plaintiff hereby repeats, reiterates, and incorporates by reference

paragraphs 1 through 23 and 28 through 135 with the same force and effect as if

fully set forth herein.

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United States’ liability for the acts and omissions of its employees

      137. At all relevant times, Defendant United States hired various

correctional and/or administrative personnel at FCI Tallahassee, including Officer

Jones, Officer Love, Officer Mitchell, Officer Jackson, Officer Adamson, and

Officer Paramour, as well as Officer Hatten’s other colleagues and/or supervisors

whose identity is currently unknown to the Plaintiff. Within the scope of their

employment, these individuals were tasked to and did provide custodial care,

control, and supervision to people incarcerated at FCI Tallahassee, including but not

limited to the Plaintiff Ms. Hernandez.

      138. At all relevant times, FCI Tallahassee personnel including Officer

Jones, Officer Love, Officer Mitchell, Officer Jackson, Officer Adamson, and

Officer Paramour held themselves out to persons incarcerated at FCI Tallahassee,

and in particular to Plaintiff, as correctional and/or administrative personnel with the

knowledge, capacity, and ability to provide due care in accordance with standards of

reasonable care common and acceptable in the community.

      139. At all relevant times, FCI Tallahassee personnel including Officer

Jones, Officer Love, Officer Mitchell, Officer Jackson, Officer Adamson, and/or

Officer Paramour, within the scope of their employment with the United States,

owed a non-delegable duty of care to Plaintiff while she was housed at FCI

Tallahassee.



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       140. It was the duty of Officer Jones, Officer Love, Officer Mitchell, Officer

Jackson, Officer Adamson, and/or Officer Paramour as federal employees, while

acting within the scope of their office or employment, to ensure that correctional

and/or administrative personnel with a history of sexual assaults were not allowed

to harm or injure other incarcerated people.

       141. It was the duty of Officer Jones, Officer Love, Officer Mitchell, Officer

Jackson, Officer Adamson, and/or Officer Paramour as federal employees, while

acting within the scope of their office or employment, to use reasonable care for the

safety of incarcerated individuals within their custodies.

       142. It was the duty of Officer Jones, Officer Love, Officer Mitchell, Officer

Jackson, Officer Adamson, and/or Officer Paramour as federal employees, while

acting within the scope of their office or employment, to maintain, operate, and

control FCI Tallahassee as a safe and secure space for persons in it, including but not

limited to Plaintiff.

       143. It was the duty of Officer Jones, Officer Love, Officer Mitchell, Officer

Jackson, Officer Adamson, and/or Officer Paramour as federal employees, while

acting within the scope of their office or employment, to provide adequate custody,

control, supervision, and monitoring to persons at FCI Tallahassee, including but not

limited to Plaintiff.




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      144. It was the duty of Officer Jones, Officer Love, Officer Mitchell, Officer

Jackson, Officer Adamson, and/or Officer Paramour as federal employees, while

acting within the scope of their office or employment, to adequately protect

incarcerated people including Plaintiff from the foreseeable harm inflicted by BOP

personnel known to be dangerous, including Officer Hatten.

      145. As described in paragraphs 40, 57-59, 71, 85, 91, 99, 109, and 115-16,

it was the duty of Officer Jones, Officer Love, Officer Mitchell, Officer Jackson,

Officer Adamson, and/or Officer Paramour as federal employees, while acting

within the scope of their office or employment, to ensure that any suspicion or

indication of sexual abuse was reported through the chain of command for full

investigation. Such suspicion or indication of sexual abuse would include Officer

Hatten’s suspicious conduct as described in paragraphs 7-9, 45, 50, 52, 61, 71, 86,

89-121, and 124; his violation of the operating protocols and/or rules as described in

paragraphs 12, 40, 44, 63, and 89; and his provision of contraband and/or other

benefits to his victims including Ms. Hernandez as described in paragraphs 11, 49,

85, 98, and 107-09.

      146.   It was the duty of Officer Adamson and other supervisory officers

whose identity is currently unknown to the Plaintiff, as federal employees, while

acting within the scope of their office or employment, to ensure that all BOP

employees are trained, supervised, and monitored properly.



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      147. As described in paragraphs 10, 46-48, 76, and 96-97, it was the duty of

Officer Jones, Officer Love, Officer Mitchell, Officer Jackson, Officer Adamson,

and/or Officer Paramour, as well as other supervisory and/or administrative staff

whose identity is currently unknown to the Plaintiff, as federal employees, while

acting within the scope of their office or employment, to ensure that security cameras

are installed, monitored, and attended to throughout FCI Tallahassee, such that

sexual assaults described herein would not occur under their watch.

      148. Officer Jones, Officer Love, Officer Mitchell, Officer Jackson, Officer

Adamson, and/or Officer Paramour, as federal employees and while acting within

the scope of their office or employment, breached each of the foregoing duties in

paragraphs 140 through 147 that they owed to Plaintiff by failing to take adequate

steps to protect her from Officer Hatten promptly, despite the numerous warning

signs and indications of sexual abuse presented by Officer Hatten. To the extent that

any other correctional, supervisory, and/or administrative staff of FCI Tallahassee,

such as Ms. Hernandez’s unit team (see paragraph 90) or special investigative agents

(see paragraphs 91, 99, and 111), were aware of Officer Hatten’s sexually abusive

conduct and turned a blind eye to it, they also breached the duties owed to the

Plaintiff by failing to take adequate steps to protect her from Officer Hatten

promptly.




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      149. The breach by federal employees described in paragraph 148 directly

exposed Plaintiff to an unreasonable risk of bodily injury, causing her to fear for her

life and safety, and resulted in her being raped on repeated occasions by Officer

Hatten.

      150. Officer Jones, as a federal employee and while acting within the scope

of his employment, knew or should have known that Officer Hatten was likely to

engage in criminal conduct that injured Plaintiff and other people incarcerated at FCI

Tallahassee.

      151. Officer Jones, as a federal employee and while acting within the scope

of his employment, knew or should have known that Officer Hatten had a propensity

to sexually abuse prisoners because of his suspicious practices that violated BOP

policies or federal regulations, including his pattern of spending time in off-camera

spaces alone with prisoners and locking them into the rec shack with him, the history

of staff sexual abuse at FCI Tallahassee with similar modus operandi as that of

Officer Hatten, and/or prior reports or allegations made against Officer Hatten.

      152. Officer Jones, as a federal employee and while acting within the scope

of his employment, knew or should have known that there was an excessive risk that

prisoners, and Plaintiff in particular, would be sexually assaulted by Officer Hatten.

As described in paragraphs 52, 89-91, 106, and 123, Officer Jones observed that

Officer Hatten was interacting and meeting with Plaintiff in an unusual manner, such



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that he knew or should have known to report the behavior, investigate further, and/or

otherwise intervene to prevent any further sexual abuse, and yet he did not do so.

      153. Officer Jones, as a federal employee and while acting within the scope

of his employment, disregarded, or ignored numerous warning signs, indications,

and complaints regarding Officer Hatten’s sexually abusive behavior.

      154. Despite actual and constructive notice of Officer Hatten’s abuse,

Officer Jones, as a federal employee and while acting within the scope of his

employment, failed to take reasonable measures to provide Plaintiff with a

reasonably safe environment, and instead allowed Officer Hatten to repeatedly prey

upon the Plaintiff without any restraints or supervision.

      155. Despite actual and constructive notice of Officer Hatten’s abuse,

Officer Jones, as a federal employee and while acting within the scope of his

employment, did not take reasonable, available measures to abate the risk of sexual

abuse to Plaintiff, and to ensure her safety, in violation of federal regulations and

BOP protocols.

      156. Officer Jones, as a federal employee and while acting within the scope

of his employment, assisted in creating and increasing the danger to Plaintiff by

enabling, permitting, condoning, tolerating, and failing to prevent Officer Hatten’s

recurrent sexual abuse. He enabled and acquiesced in Officer Hatten’s conduct,

thereby placing Plaintiff directly in harm’s way.



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      157. Officer Jones, as a federal employee and while acting within the scope

of his employment, negligently failed to adequately monitor, supervise, investigate,

or discipline Officer Hatten, allowing him to operate within FCI Tallahassee with

impunity.

      158. In each of the foregoing ways as alleged in paragraphs 150 through 157,

Officer Jones did not possess the necessary skill to maintain a safe and secure

environment and protect Plaintiff from foreseeable harm.

      159. In each of the foregoing ways as alleged in paragraphs 150 through 157,

Officer Jones, as a federal employee and while acting within the scope of his

employment, neglected to apply the skill he did have.

      160. In each of the foregoing ways as alleged in paragraphs 150 through 157,

Officer Jones, as a federal employee and while acting within the scope of his

employment, did not use reasonable care in applying the skill he had.

      161. Officer Love, as a federal employee and while acting within the scope

of his employment, knew or should have known that Officer Hatten was likely to

engage in criminal conduct that injured Plaintiff and other people incarcerated at FCI

Tallahassee.

      162. Officer Love, as a federal employee and while acting within the scope

of his employment, knew or should have known that Officer Hatten had a propensity

to sexually abuse prisoners because of his suspicious practices that violated BOP



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policies or federal regulations, including his pattern of spending time in off-camera

spaces alone with prisoners and locking them into the rec shack with him, the history

of staff sexual abuse at FCI Tallahassee with similar modus operandi as that of

Officer Hatten, and/or prior reports or allegations made against Officer Hatten.

      163. Officer Love, as a federal employee and while acting within the scope

of his employment, knew or should have known that there was an excessive risk that

prisoners, and Plaintiff in particular, would be sexually assaulted by Officer Hatten.

As described in paragraphs 53, 89-91, 106, 116, and 123, Officer Love observed that

Officer Hatten was interacting and meeting with Plaintiff in an unusual manner, such

that he knew or should have known to report the behavior, investigate further, and/or

otherwise intervene to prevent any further sexual abuse, and yet he did not do so.

      164. Officer Love, as a federal employee and while acting within the scope

of his employment, knew that there were prior incidents at FCI Tallahassee where

officers sexually abused prisoners with similar modus operandi as Officer Hatten’s,

and yet ignored the blatant suspicions and/or indications of Hatten’s sexual abuse.

      165. Officer Love, as a federal employee and while acting within the scope

of his employment, disregarded, or ignored numerous warning signs, indications,

and complaints regarding Officer Hatten’s sexually abusive behavior.

      166. Despite actual and constructive notice of Officer Hatten’s abuse,

Officer Love, as a federal employee and while acting within the scope of his



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employment, failed to take reasonable measures to provide Plaintiff with a

reasonably safe environment, and instead allowed Officer Hatten to repeatedly prey

upon the Plaintiff without any restraints or supervision.

      167. Despite actual and constructive notice of Officer Hatten’s abuse,

Officer Love, as a federal employee and while acting within the scope of his

employment, did not take reasonable, available measures to abate the risk of sexual

abuse to Plaintiff, and to ensure her safety, in violation of federal regulations and

BOP protocols.

      168. Officer Love, as a federal employee and while acting within the scope

of his employment, assisted in creating and increasing the danger to Plaintiff by

enabling, permitting, condoning, tolerating, and failing to prevent Officer Hatten’s

recurrent sexual abuse. He enabled and acquiesced in Officer Hatten’s conduct,

thereby placing Plaintiff directly in harm’s way.

      169. Officer Love, as a federal employee and while acting within the scope

of his employment, negligently failed to adequately monitor, supervise, investigate,

or discipline Officer Hatten, allowing him to operate within FCI Tallahassee with

impunity.

      170. In each of the foregoing ways as alleged in paragraphs 161 through 169,

Officer Love did not possess the necessary skill to maintain a safe and secure

environment and protect Plaintiff from foreseeable harm.



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      171. In each of the foregoing ways as alleged in paragraphs 161 through 169,

Officer Love, as a federal employee and while acting within the scope of his

employment, neglected to apply the skill he did have.

      172. In each of the foregoing ways as alleged in paragraphs 161 through 169,

Officer Love, as a federal employee and while acting within the scope of his

employment, did not use reasonable care in applying the skill he had.

      173. Officer Mitchell, as a federal employee and while acting within the

scope of his employment, knew or should have known that Officer Hatten was likely

to engage in criminal conduct that injured Plaintiff and other people incarcerated at

FCI Tallahassee.

      174. Officer Mitchell, as a federal employee and while acting within the

scope of his employment, knew or should have known that Officer Hatten had a

propensity to sexually abuse prisoners because of his suspicious practices that

violated BOP policies or federal regulations, including his pattern of spending time

in off-camera spaces alone with prisoners and locking them into the rec shack with

him, the history of staff sexual abuse at FCI Tallahassee with similar modus operandi

as that of Officer Hatten, and/or prior reports or allegations made against Officer

Hatten.

      175. Officer Mitchell, as a federal employee and while acting within the

scope of his employment, knew or should have known that there was an excessive



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risk that prisoners, and Plaintiff in particular, would be sexually assaulted by Officer

Hatten. As described in paragraphs 54, 89, 113-15, and 123, Officer Mitchell

observed that Officer Hatten was interacting and meeting with Plaintiff in an unusual

manner, such that he knew or should have known to report the behavior, investigate

further, and/or otherwise intervene to prevent any further sexual abuse, and yet he

did not do so.

      176. Officer Mitchell, as a federal employee and while acting within the

scope of his employment, disregarded, or ignored numerous warning signs,

indications, and complaints regarding Officer Hatten’s sexually abusive behavior.

      177. Despite actual and constructive notice of Officer Hatten’s abuse,

Officer Mitchell, as a federal employee and while acting within the scope of his

employment, failed to take reasonable measures to provide Plaintiff with a

reasonably safe environment, and instead allowed Officer Hatten to repeatedly prey

upon the Plaintiff without any restraints or supervision.

      178. Despite actual and constructive notice of Officer Hatten’s abuse,

Officer Mitchell, as a federal employee and while acting within the scope of his

employment, did not take reasonable, available measures to abate the risk of sexual

abuse to Plaintiff, and to ensure her safety, in violation of federal regulations and

BOP protocols.




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      179. Officer Mitchell, as a federal employee and while acting within the

scope of his employment, assisted in creating and increasing the danger to Plaintiff

by enabling, permitting, condoning, tolerating, and failing to prevent Officer

Hatten’s recurrent sexual abuse. He enabled and acquiesced in Officer Hatten’s

conduct, thereby placing Plaintiff directly in harm’s way.

      180. Officer Mitchell, as a federal employee and while acting within the

scope of his employment, negligently failed to adequately monitor, supervise,

investigate, or discipline Officer Hatten, allowing him to operate within FCI

Tallahassee with impunity.

      181. In each of the foregoing ways as alleged in paragraphs 173 through 180,

Officer Mitchell did not possess the necessary skill to maintain a safe and secure

environment and protect Plaintiff from foreseeable harm.

      182. In each of the foregoing ways as alleged in paragraphs 173 through 180,

Officer Mitchell, as a federal employee and while acting within the scope of his

employment, neglected to apply the skill he did have.

      183. In each of the foregoing ways as alleged in paragraphs 173 through 180,

Officer Mitchell, as a federal employee and while acting within the scope of his

employment, did not use reasonable care in applying the skill he had.

      184. Officer Jackson, as a federal employee and while acting within the

scope of her employment, knew or should have known that Officer Hatten was likely



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to engage in criminal conduct that injured Plaintiff and other people incarcerated at

FCI Tallahassee.

      185. Officer Jackson, as a federal employee and while acting within the

scope of her employment, knew or should have known that Officer Hatten had a

propensity to sexually abuse prisoners because of his suspicious practices that

violated BOP policies or federal regulations, including his pattern of spending time

in off-camera spaces alone with prisoners and locking them into the rec shack with

him, the history of staff sexual abuse at FCI Tallahassee with similar modus operandi

as that of Officer Hatten, and/or prior reports or allegations made against Officer

Hatten.

      186. Officer Jackson, as a federal employee and while acting within the

scope of her employment, knew or should have known that there was an excessive

risk that prisoners, and Plaintiff in particular, would be sexually assaulted by Officer

Hatten. As described in paragraphs 55, 89-91, 94-95, 106, 116, and 123, Officer

Jackson observed that Officer Hatten was interacting and meeting with Plaintiff in

an unusual manner, such that she knew or should have known to report the behavior,

investigate further, and/or otherwise intervene to prevent any further sexual abuse,

and yet she did not do so.




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      187. Officer Jackson, as a federal employee and while acting within the

scope of her employment, disregarded, or ignored numerous warning signs,

indications, and complaints regarding Officer Hatten’s sexually abusive behavior.

      188. Despite actual and constructive notice of Officer Hatten’s abuse,

Officer Jackson, as a federal employee and while acting within the scope of her

employment, failed to take reasonable measures to provide Plaintiff with a

reasonably safe environment, and instead allowed Officer Hatten to repeatedly prey

upon the Plaintiff without any restraints or supervision.

      189. Despite actual and constructive notice of Officer Hatten’s abuse,

Officer Jackson, as a federal employee and while acting within the scope of her

employment, did not take reasonable, available measures to abate the risk of sexual

abuse to Plaintiff, and to ensure her safety, in violation of federal regulations and

BOP protocols.

      190. Officer Jackson, as a federal employee and while acting within the

scope of her employment, assisted in creating and increasing the danger to Plaintiff

by enabling, permitting, condoning, tolerating, and failing to prevent Officer

Hatten’s recurrent sexual abuse. She enabled and acquiesced in Officer Hatten’s

conduct, thereby placing Plaintiff directly in harm’s way.

      191. Officer Jackson, as a federal employee and while acting within the

scope of her employment, negligently failed to adequately monitor, supervise,



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investigate, or discipline Officer Hatten, allowing him to operate within FCI

Tallahassee with impunity.

      192. In each of the foregoing ways as alleged in paragraphs 184 through 191,

Officer Jackson did not possess the necessary skill to maintain a safe and secure

environment and protect Plaintiff from foreseeable harm.

      193. In each of the foregoing ways as alleged in paragraphs 184 through 191,

Officer Jackson, as a federal employee and while acting within the scope of her

employment, neglected to apply the skill she did have.

      194. In each of the foregoing ways as alleged in paragraphs 184 through 191,

Officer Jackson, as a federal employee and while acting within the scope of her

employment, did not use reasonable care in applying the skill she had.

      195. Officer Adamson, as a federal employee and while acting within the

scope of his employment, knew or should have known that Officer Hatten was likely

to engage in criminal conduct that injured Plaintiff and other people incarcerated at

FCI Tallahassee.

      196. Officer Adamson, as a federal employee and while acting within the

scope of his employment, knew or should have known that Officer Hatten had a

propensity to sexually abuse prisoners because of his suspicious practices that

violated BOP policies or federal regulations, including his pattern of spending time

in off-camera spaces alone with prisoners and locking them into the rec shack with



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him, the history of staff sexual abuse at FCI Tallahassee with similar modus operandi

as that of Officer Hatten, and/or prior reports or allegations made against Officer

Hatten.

      197. Officer Adamson, as a federal employee and while acting within the

scope of his employment, knew or should have known that there was an excessive

risk that prisoners, and Plaintiff in particular, would be sexually assaulted by Officer

Hatten. As described in paragraphs 56, 89-91, 104-106, and 123, Officer Adamson

observed that Officer Hatten was interacting and meeting with Plaintiff in an unusual

manner, such that he knew or should have known to report the behavior, investigate

further, and/or otherwise intervene to prevent any further sexual abuse, and yet he

did not do so.

      198. Officer Adamson, as a federal employee and while acting within the

scope of his employment, disregarded, or ignored numerous warning signs,

indications, and complaints regarding Officer Hatten’s sexually abusive behavior.

      199. Despite actual and constructive notice of Officer Hatten’s abuse,

Officer Adamson, as a federal employee and while acting within the scope of his

employment, failed to take reasonable measures to provide Plaintiff with a

reasonably safe environment, and instead allowed Officer Hatten to repeatedly prey

upon the Plaintiff without any restraints or supervision.




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      200. Despite actual and constructive notice of Officer Hatten’s abuse,

Officer Adamson, as Officer Hatten’s direct supervisor, allowed him unfettered

access to his victims under the pretext of supervising female prisoners working in

recreation.

      201. Despite actual and constructive notice of Officer Hatten’s abuse,

Officer Adamson, as a federal employee and while acting within the scope of his

employment, did not take reasonable, available measures to abate the risk of sexual

abuse to Plaintiff, and to ensure her safety, in violation of federal regulations and

BOP protocols.

      202. Officer Adamson, as a federal employee and while acting within the

scope of his employment, assisted in creating and increasing the danger to Plaintiff

by enabling, permitting, condoning, tolerating, and failing to prevent Officer

Hatten’s recurrent sexual abuse. He enabled and acquiesced in Officer Hatten’s

conduct, thereby placing Plaintiff directly in harm’s way.

      203. Officer Adamson, as a federal employee and while acting within the

scope of his employment, negligently failed to adequately monitor, supervise,

investigate, or discipline Officer Hatten, allowing him to operate within FCI

Tallahassee with impunity.




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      204. In each of the foregoing ways as alleged in paragraphs 195 through 203,

Officer Adamson did not possess the necessary skill to maintain a safe and secure

environment and protect Plaintiff from foreseeable harm.

      205. In each of the foregoing ways as alleged in paragraphs 195 through 203,

Officer Adamson, as a federal employee and while acting within the scope of his

employment, neglected to apply the skill he did have.

      206. In each of the foregoing ways as alleged in paragraphs 195 through 203,

Officer Adamson, as a federal employee and while acting within the scope of his

employment, did not use reasonable care in applying the skill he had.

      207. Officer Paramour, as a federal employee and while acting within the

scope of his employment, knew or should have known that Officer Hatten was likely

to engage in criminal conduct that injured Plaintiff and other people incarcerated at

FCI Tallahassee.

      208. Officer Paramour, as a federal employee and while acting within the

scope of his employment, knew or should have known that Officer Hatten had a

propensity to sexually abuse prisoners because of his suspicious practices that

violated BOP policies or federal regulations, including his pattern of spending time

in off-camera spaces alone with prisoners and locking them into the rec shack with

him, the history of staff sexual abuse at FCI Tallahassee with similar modus operandi




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as that of Officer Hatten, and/or prior reports or allegations made against Officer

Hatten.

      209. Officer Paramour, as a federal employee and while acting within the

scope of his employment, knew or should have known that there was an excessive

risk that prisoners, and Plaintiff in particular, would be sexually assaulted by Officer

Hatten. As described in paragraphs 112 and 123, Officer Paramour observed that

Officer Hatten was interacting and meeting with Plaintiff in an unusual manner, such

that he knew or should have known to report the behavior, investigate further, and/or

otherwise intervene to prevent any further sexual abuse, and yet he did not do so.

      210. Officer Paramour, as a federal employee and while acting within the

scope of his employment, disregarded, or ignored numerous warning signs,

indications, and complaints regarding Officer Hatten’s sexually abusive behavior.

      211. Despite actual and constructive notice of Officer Hatten’s abuse,

Officer Paramour, as a federal employee and while acting within the scope of his

employment, failed to take reasonable measures to provide Plaintiff with a

reasonably safe environment, and instead allowed Officer Hatten to repeatedly prey

upon the Plaintiff without any restraints or supervision.

      212. Despite actual and constructive notice of Officer Hatten’s abuse,

Officer Paramour, as the officer in SHU, allowed Officer Hatten unfettered access to




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Ms. Hernandez even while she was under investigation for contraband received from

Officer Hatten.

      213. Despite actual and constructive notice of Officer Hatten’s abuse,

Officer Paramour, as a federal employee and while acting within the scope of his

employment, did not take reasonable, available measures to abate the risk of sexual

abuse to Plaintiff, and to ensure her safety, in violation of federal regulations and

BOP protocols.

      214. Officer Paramour, as a federal employee and while acting within the

scope of his employment, assisted in creating and increasing the danger to Plaintiff

by enabling, permitting, condoning, tolerating, and failing to prevent Officer

Hatten’s recurrent sexual abuse. He enabled and acquiesced in Officer Hatten’s

conduct, thereby placing Plaintiff directly in harm’s way.

      215. Officer Paramour, as a federal employee and while acting within the

scope of his employment, negligently failed to adequately monitor, supervise,

investigate, or discipline Officer Hatten, allowing him to operate within FCI

Tallahassee with impunity.

      216. In each of the foregoing ways as alleged in paragraphs 207 through 215,

Officer Paramour did not possess the necessary skill to maintain a safe and secure

environment and protect Plaintiff from foreseeable harm.




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        217. In each of the foregoing ways as alleged in paragraphs 207 through 215,

Officer Paramour, as a federal employee and while acting within the scope of his

employment, neglected to apply the skill he did have.

        218. In each of the foregoing ways as alleged in paragraphs 1207 through

215, Officer Paramour, as a federal employee and while acting within the scope of

his employment, did not use reasonable care in applying the skill he had.

        219. United States is the sole proper defendant for each breach of duty by

federal employees, Officers Jones, Love, Mitchell, Jackson, Adamson, and/or

Paramour alleged in foregoing paragraphs 139 through 218 under the FTCA. United

States is vicariously liable for the acts or omissions of its agents, servants,

contractors, and/or employees that occur within the scope of their employment as

here.

        220. Plaintiff’s injuries herein were proximately caused by the carelessness,

recklessness, gross negligence, negligence, and deliberate indifference of United

States’ employees including Officers Jones, Love, Mitchell, Jackson, Adamson,

and/or Paramour, who were on duty and acting within the scope of their employment

when they engaged in the wrongful conduct described herein.

        221. Officer Jones, Officer Love, Officer Mitchell, Officer Jackson, Officer

Adamson, and/or Officer Paramour’s employment at FCI Tallahassee was essential




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to their commission of tortious misconduct, which could not have occurred absent

their federal employment and related privileges.

         222. Officer Jones, Officer Love, Officer Mitchell, Officer Jackson, Officer

Adamson, and/or Officer Paramour’s conduct was grossly negligent in that they

were so careless as to show complete disregard for the rights and safety of Plaintiff.

         223. Officer Jones, Officer Love, Officer Mitchell, Officer Jackson, Officer

Adamson, and/or Officer Paramour were aware of facts that gave rise to an

unreasonable risk that Plaintiff would be irreparably injured.

         224. It was foreseeable to Officer Jones, Officer Love, Officer Mitchell,

Officer Jackson, Officer Adamson, and/or Officer Paramour, based on the facts

known to them, that Plaintiff was at a risk of imminent serious harm including sexual

abuse.

         225. Yet, Officer Jones, Officer Love, Officer Mitchell, Officer Jackson,

Officer Adamson, and/or Officer Paramour in their official capacities failed and/or

refused to prevent the abuse of Plaintiff or to prevent its psychological consequences

from worsening to the extent that they did.

         226. Officer Jones, Officer Love, Officer Mitchell, Officer Jackson, Officer

Adamson, and/or Officer Paramour, acting as agents, servants, contractors, and/or

employees of the United States, knew that they had an opportunity to intervene and




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prevent the exacerbation of Plaintiff’s injuries and damages, and yet did not do so

and instead inflicted unnecessary pain and suffering.

      227. The failure of FCI Tallahassee personnel, namely Officer Jones, Officer

Love, Officer Mitchell, Officer Jackson, Officer Adamson, and/or Officer Paramour

to prevent, investigate, or acknowledge Officer Hatten’s sexual abuse of prisoners,

including Plaintiff, served no legitimate policy purpose. On the contrary, FCI

Tallahassee staff were required by mandatory BOP policies and federal regulations

to immediately intervene and investigate when they learned of his suspected sexual

abuse. The failure to do so by Officer Jones, Officer Love, Officer Mitchell, Officer

Jackson, Officer Adamson, Officer Paramour, and/or other personnel currently

unknown to Plaintiff, was patently outside of their discretionary function.

United States’ liability for its own acts and omissions

      228. Defendant United States also had independent duty owed to the

Plaintiff to adequately protect people incarcerated in its custody and to exercise due

diligence in hiring, training, retaining, and supervising its employees.

      229. Defendant United States failed abjectly in its duty to detect, prevent,

and investigate sexual abuse in its facility (see paragraphs 73-76), to safeguard its

prisoners from its own employees (see paragraph 81), and to provide psychological

care and treatment to these victims (see paragraph 130).




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      230. Defendant United States failed to provide reasonably safe environment

to Plaintiff, who was under its care, custody, and control without ability to escape.

      231. Plaintiff’ injuries were direct and proximate consequences of Defendant

United States’ (a) failure to enforce zero-tolerance policy against sexually abusive

conduct, 28 C.F.R. § 115.11; (b) failure to supervise, monitor, and surveil one-on-

one physical contact between BOP personnel and incarcerated persons, 28 C.F.R.

§ 115.13; (c) decision to hire, retain, and promote BOP personnel who was suspected

or alleged to have had improper sexual contact, 28 C.F.R. § 115.17; (d) punishment

of victims through disciplinary or retaliatory measures instead of providing proper

support and protection, 28 C.F.R. § 115.43; (e) failure to report suspicion or

allegation of sexual abuse, 28 C.F.R. § 115.61, Program Statement 5324.12; (f)

failure to protect victims from retaliation after reporting sexual abuse, 28 C.F.R.

§ 115.67; (g) failure to promptly, thoroughly, and objectively investigate all

allegations or reports, 28 C.F.R. § 115.71(a), Program Statement 3420.11; and (h)

failure to discipline staff for sexual misconduct, 28 C.F.R. § 115.76.

      232. Despite actual and constructive notice of Officer Hatten’s abuse,

Defendant United States acted negligently in improperly hiring, training, retaining,

supervising, and/or disciplining Officer Hatten as described in paragraphs 39, 41,

43, 59, 62, and 64.




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      233. Despite actual and constructive notice of Officer Hatten’s abuse,

Defendant United States acted negligently in failing to adequately monitor,

supervise, investigate, or discipline Officer Hatten, allowing him to operate with

impunity.

      234. Defendant United States acted negligently in hiring Officer Hatten, as

well as Officers Jones, Love, Mitchell, Jackson, Adamson, and/or Paramour, who

did not possess the necessary skill to maintain safe and secure environment and

protect Plaintiff from foreseeable harm.

      235. Even though the United States’ hiring, retention, and promotion of its

employees are sometimes considered discretionary, when, as here, the United States

was aware of its employees’ tortious conduct, ignored and assisted in it, its retention

of those employees does not represent a choice based on legitimate policy

considerations.

      236. United States’ acts and omissions as described in paragraphs 228

through 234 proximately caused Plaintiff’s injuries.

Summary

      237. The above-described acts and omissions of Officer Jones, Officer Love,

Officer Mitchell, Officer Jackson, Officer Adamson, and/or Officer Paramour, and

the United States constitute the tort of negligence under the laws of the State of

Florida.



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      238. Based on the foregoing circumstances, the United States, if it were a

private person, would be liable to Plaintiff Ms. Hernandez in accordance with the

laws of Florida, for the negligence upon Ms. Hernandez.

      239. Plaintiff’s injuries were inflicted through no fault or want of care or

contributory negligence on the part of Plaintiff.

      240. Officer Hatten’s continued rape and abuse of Ms. Hernandez meet

Florida state’s requirements for physical impact.

      241. As a direct and proximate result of the foregoing, Plaintiff Ms.

Hernandez     suffered debilitating psychological trauma, excruciating pain and

suffering, emotional distress, permanent and catastrophic psychological injuries,

permanent physical ailments associated with psychological injuries, humiliation,

fear, depression, anxiety, frustration, loss of enjoyment and pleasures of life, loss of

quality of life, and offenses to her personal dignity, as well as attendant damages,

both general and special, including but not limited to any past and future medical

expenses and economic injuries.

      242. As a direct and proximate result of the foregoing, Ms. Hernandez has

suffered serious harm including, without limitation, physical, psychological,

emotional, mental, financial, and reputational harm, and therefore, is entitled to

recover damages in an amount to be determined at trial.

      WHEREFORE, Plaintiff prays for judgment as set forth below.


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                          SECOND CLAIM FOR RELIEF

     NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS CLAIM
             UNDER FEDERAL TORT CLAIMS ACT
                 (Against Defendant United States)

       243. Plaintiff hereby repeats, reiterates, and incorporates by reference

paragraphs 1 through 23, 28 through 135, and 136 through 242 with the same force

and effect as if fully set forth herein.

       244. As described in paragraphs 136 through 242, Defendant United States,

individually or through Officer Jones, Officer Love, Officer Mitchell, Officer

Jackson, Officer Adamson, and/or Officer Paramour, in their official roles and

capacities as agents, servants, contractors, and/or employees, directly caused, or

disregarded a substantial probability of causing, severe emotional distress and

mental injury to Plaintiff.

       245. The acts and omissions of Officer Jones, Officer Love, Officer Mitchell,

Officer Jackson, Officer Adamson, and/or Officer Paramour, described in paragraphs

136 through 242, constituted extreme and outrageous conduct.

       246. Plaintiff in fact suffered debilitating emotional suffering.

       247. The above-described acts and omissions of Officer Jones, Officer Love,

Officer Mitchell, Officer Jackson, Officer Adamson, and/or Officer Paramour

constitute the tort of negligent infliction of emotional distress under the laws of the

State of Florida.

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      248. Florida state law only recognizes this tort if it meets the requirements

under the impact rule, which requires either physical touch or a physical

manifestation of emotional distress. The “touch” requirement can be met with a

foreign object, such as a gun or by a perpetrator’s hands. Therefore, even without a

physical manifestation of emotional harm, the Court can make a finding of negligent

infliction of emotional distress. See Willis v. Gami Golden Glades, LLC, 967 So. 2d

846 (Fla. 2007).

      249. Here, Officer Hatten repeatedly raped Plaintiff, meeting the

requirement of both physical touch and physical manifestation of emotional distress.

Officer Hatten’s sexual abuse of Plaintiff was severe and repetitive, and caused

Plaintiff physical pain and extreme emotional trauma.

      250. Under the FTCA, Defendant United States of America is liable for the

acts and omissions of its agents, servants, contractors, and/or employees that

occurred within the scope of their employment as here.

      251. Based on the foregoing circumstances, the United States, if it were a

private person, would be liable to Plaintiff Ms. Hernandez in accordance with the

laws of Florida, for the negligent infliction of emotional distress upon Ms.

Hernandez.

      252. As a direct and proximate result of the foregoing, Plaintiff Ms.

Hernandez suffered debilitating psychological trauma, excruciating pain and



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suffering, emotional distress, permanent and catastrophic psychological injuries,

permanent physical ailments associated with psychological injuries, humiliation,

fear, depression, anxiety, frustration, loss of enjoyment and pleasures of life, loss of

quality of life, and offenses to her personal dignity, as well as attendant damages,

both general and special, including but not limited to any past and future medical

expenses and economic injuries.

      253. As a direct and proximate result of the foregoing, Plaintiff has suffered

serious harm including, without limitation, physical, psychological, emotional,

mental, financial, and reputational harm, and therefore, Ms. Hernandez is entitled to

recover damages in an amount to be determined at trial.

      WHEREFORE, Plaintiff prays for judgment as set forth below.

                          THIRD CLAIM FOR RELIEF

   INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS CLAIM
            UNDER FEDERAL TORT CLAIMS ACT
                (Against Defendant United States)

      254. Plaintiff hereby repeats, reiterates, and incorporates by reference

paragraphs 1 through 6, 10 through 11, 14 through 23, 28 through 36, 41 through 43,

47 through 56, 63, and 79 through 135 with the same force and effect as if fully set

forth herein.

      255. The acts and omissions of Officer Hatten meet the standards of: (1)

deliberate or reckless infliction of mental suffering; (2) through outrageous conduct;


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(3) that caused emotional distress; (4) which was severe. See Liberty Mut. Ins. Co. v

Steadman, 968 So 2d 592, 594 (Fla. Dist. Ct. App. 2007).

       256. Officer Hatten engaged in extreme and outrageous conduct by

repeatedly subjecting Plaintiff to sexual acts while she was incarcerated in their

custody. He abused his authority and power to violate her in a manner that is

shocking, atrocious, despicable, and intolerable beyond all bounds of decency.

       257. Officer Hatten had an intention to cause, or recklessly disregarded the

probability of causing, severe emotional distress and mental injury to Plaintiff. See

Williams v City of Minneola, 575 So 2d 683, 690 (Fla. Dist Ct App 1991).

       258. Officer Hatten’s rapes occurred under coercive circumstances, and by

intentionally subjecting Plaintiff to these acts, Officer Hatten acted maliciously in a

manner that is deeply offensive to human dignity and void of penological

justification.

       259. Plaintiff in fact suffered debilitating emotional suffering. Her emotional

distress was so substantial and enduring that no reasonable person in a civilized

society should be expected to endure it.

       260. The above-described acts and omissions of Officer Hatten constitute

the tort of intentional infliction of emotional distress under the laws of the State of

Florida.




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      261. Plaintiff’s injuries and damages were caused, in whole or in part, by

intentional torts (e.g., intentional infliction of emotional distress, sexual battery, and

sexual assault) perpetrated by Officer Hatten. Under 28 U.S.C. §2680(h), Defendant

United States is liable for intentional torts perpetrated by its agents, including

correctional officers and other law enforcement officers, which occurred within the

scope of their employment or under color of federal law as here.

      262. At all relevant times, Officer Hatten was acting under color of authority

as a “law enforcement officer” within the meaning of 28 U.S.C. §2680(h). At all

relevant times, Officer Hatten supervised, disciplined, oversaw, monitored,

controlled, directed, ordered, restrained, and imprisoned the Plaintiff within the

scope and course of his employment with Defendant United States.

      263. At all relevant times, Officer Hatten used his authority as a law

enforcement officer to direct, order, restrain, force, overpower, intimidate, threaten,

coerce, blackmail, harass, abuse, and assault the Plaintiff and to prevent her from

disclosing the sexual assaults for fear of retaliation, victim-blaming or shaming,

additional assaults, loss of employment, and SHU placement, among others.

      264. At all relevant times, Officer Hatten used his authority as a law

enforcement officer to sexually assault the Plaintiff, knowing that she had no ability

to consent or to withhold consent.




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      265. Based on the foregoing circumstances, the United States, if it were a

private person, would be liable to Plaintiff Ms. Hernandez in accordance with the

laws of Florida, for the intentional infliction of emotional distress that Officer Hatten

committed on Ms. Hernandez.

      266. As a result of Officer Hatten’s use and abuse of his position of authority

as a “law enforcement officer” within the course and scope of their employment,

Defendant United States is vicariously liable, and has waived its sovereign

immunity, for the intentional torts committed upon the Plaintiff. Therefore, Plaintiff

bring this Claim for intentional infliction of emotional distress under the FTCA

against the United States, based on the conduct of its officer, Lenton Jerome Hatten.

      267. As a direct and proximate result of the foregoing, Plaintiff Ms.

Hernandez     suffered debilitating psychological trauma, excruciating pain and

suffering, emotional distress, permanent and catastrophic psychological injuries,

permanent physical ailments associated with psychological injuries, humiliation,

fear, depression, anxiety, frustration, loss of enjoyment and pleasures of life, loss of

quality of life, and offenses to her personal dignity, as well as attendant damages,

both general and special, including but not limited to any past and future medical

expenses and economic injuries.

      268. As a direct and proximate result of the foregoing, Plaintiff has suffered

serious harm including, without limitation, physical, psychological, emotional,



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mental, financial, and reputational harm, and therefore, Plaintiff is entitled to recover

damages in an amount to be determined at trial.

      WHEREFORE, Plaintiff prays for judgment as set forth below.

                         FOURTH CLAIM FOR RELIEF

  SEXUAL BATTERY CLAIM UNDER FEDERAL TORT CLAIMS ACT
               (Against Defendant United States)

      269. Plaintiff hereby repeats, reiterates, and incorporates by reference

paragraphs 1 through 6, 10 through 11, 14 through 23, 28 through 36, 41 through 43,

47 through 56, 63, and 79 through 135 with the same force and effect as if fully set

forth herein.

      270. Plaintiff brings this Claim under the FTCA for sexual battery against

the United States, based on the conduct of Officer Hatten.

      271. Officer Hatten committed sexual battery on Ms. Hernandez without her

consent.

      272. Officer Hatten repeatedly coerced Ms. Hernandez into sexual

submission through the threat or force or violence. Ms. Hernandez reasonably

believed that Officer Hatten had the present ability to execute the threat.

      273. Officer Hatten repeatedly coerced Ms. Hernandez into sexual

submission by threatening to retaliate against her, and she reasonably believed that

as a correctional officer, he had the ability to execute the threat in the future.



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      274. In addition, Ms. Hernandez reasonably believed that Officer Hatten was

in a position of control or authority, and that she did not have an ability to consent

or withhold consent to sexual acts with him.

      275. Plaintiff was incapable of consenting. 18 U.S.C. § 2243(b) makes it a

felony for a BOP employee to “knowingly engage in a sexual act with another person

who is (1) in official detention; and (2) under the custodial, supervisory, or

disciplinary authority of the person so engaging.” Consent is not a defense to this

crime, considering the inherently unequal power dynamic between BOP employees

and prisoners. As the Office of Inspector General (“OIG”) explained in a 2005 report

regarding prison staff sexual abuse, prisoners are precluded from having the same

ability as staff members to consent to a sexual relationship. Simply put, there is no

scenario under which an incarcerated person can give consent to sexual contact,

harassment, or abuse by BOP personnel.

      276. Without Ms. Hernandez’s consent, Officer Hatten repeatedly penetrated

her vagina with his penis, with the subjective intent to gratify his own sexual desire

and/or to humiliate Ms. Hernandez. He thereby made intentional harmful and

offensive sexual contact with Ms. Hernandez, with the intent to cause harmful or

offensive contact. Officer Hatten’s contact with Ms. Hernandez was deeply offensive

to her personal dignity and would offend a person of ordinary sensitivity.




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      277. The above-described acts and omissions of Officer Hatten constitute

the tort of sexual battery under the laws of the State of Florida.

      278. Plaintiff’s injuries and damages were caused, in whole or in part, by

intentional torts (e.g., intentional infliction of emotional distress, sexual battery, and

sexual assault) perpetrated by Officer Hatten. Under 28 U.S.C. §2680(h), Defendant

United States is liable for intentional torts perpetrated by its agents, including

correctional officers and other law enforcement officers, which occurred within the

scope of their employment or under color of federal law as here.

      279. At all relevant times, Officer Hatten was acting under color of authority

as a “law enforcement officer” within the meaning of 28 U.S.C. §2680(h). At all

relevant times, Officer Hatten supervised, disciplined, oversaw, monitored,

controlled, directed, ordered, restrained, and imprisoned the Plaintiff within the

scope and course of his employment with Defendant United States.

      280. At all relevant times, Officer Hatten used his authority as a law

enforcement officer to direct, order, restrain, force, overpower, intimidate, threaten,

coerce, blackmail, harass, abuse, and assault the Plaintiff and to prevent her from

disclosing the sexual assaults for fear of retaliation, victim-blaming or shaming,

additional assaults, loss of employment, and SHU placement, among others.




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      281. At all relevant times, Officer Hatten used his authority as a law

enforcement officer to sexually assault the Plaintiff, knowing that she had no ability

to consent or to withhold consent.

      282. Based on the foregoing circumstances, the United States, if it were a

private person, would be liable to Plaintiff Ms. Hernandez in accordance with the

laws of Florida, for the sexual battery that Officer Hatten committed on Ms.

Hernandez.

      283. As a result of Officer Hatten’s use and abuse of his position of authority

as a “law enforcement officer” within the course and scope of their employment,

Defendant United States is vicariously liable and has waived its sovereign immunity

for the intentional torts committed upon the Plaintiff. Therefore, Plaintiff bring this

Claim for sexual battery under the FTCA against the United States, based on the

conduct of its officer, Lenton Jerome Hatten.

      284. As a direct and proximate result of the foregoing, Plaintiff suffered

debilitating psychological trauma, excruciating pain and suffering, emotional

distress, permanent and catastrophic psychological injuries, permanent physical

ailments associated with psychological injuries, humiliation, fear, depression,

anxiety, frustration, loss of enjoyment and pleasures of life, loss of quality of life,

and offenses to her personal dignity, as well as attendant damages, both general and




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special, including but not limited to any past and future medical expenses and

economic injuries.

       285. As a direct and proximate result of the foregoing, Plaintiff has suffered

severe distress including, without limitation, physical, psychological, emotional,

mental, financial, and reputational harm, and therefore, Ms. Hernandez is entitled to

recover damages in an amount to be determined at trial.

       WHEREFORE, Plaintiff prays for judgment as set forth below.

                             FIFTH CLAIM FOR RELIEF

   SEXUAL ASSAULT CLAIM UNDER FEDERAL TORT CLAIMS ACT
                (Against Defendant United States)

       286. Plaintiff hereby repeats, reiterates, and incorporates by reference

foregoing paragraphs Plaintiff hereby repeats, reiterates, and incorporates by

reference paragraphs 1 through 6, 10 through 11, 14 through 23, 28 through 36, 41

through 43, 47 through 56, 63, and 79 through 135 with the same force and effect as

if fully set forth herein.

       287. Plaintiff brings this Claim under the FTCA for sexual assault against

the United States, based on the conduct of its officers including Officer Hatten.

       288. Officer Hatten intentionally threatened Ms. Hernandez to physically

harm her, with an apparent ability to do so as a correctional officer. The threats

occurred by word and act, with Officer Hatten verbally threatening Ms. Hernandez



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that he “will fuck you up” as well as choking her and physically throwing her against

a wall.

      289. Officer Hatten intentionally caused an imminent and reasonable

apprehension of sexual assault, creating a well-founded fear in Ms. Hernandez that

violence was imminent. He repeatedly acted with the intent to cause harmful and

offensive contact with Ms. Hernandez, including sexually offensive contact as

described above.

      290. Plaintiff’s injuries and damages were caused, in whole or in part, by

intentional torts (e.g., intentional infliction of emotional distress, sexual battery, and

sexual assault) perpetrated by Officer Hatten. Under 28 U.S.C. §2680(h), Defendant

United States is liable for intentional torts perpetrated by its agents, including

correctional officers and other law enforcement officers, which occurred within the

scope of their employment or under color of federal law as here.

      291. At all relevant times, Officer Hatten was acting under color of authority

as a “law enforcement officer” within the meaning of 28 U.S.C. §2680(h). At all

relevant times, Officer Hatten supervised, disciplined, oversaw, monitored,

controlled, directed, ordered, restrained, and imprisoned the Plaintiff within the

scope and course of his employment with Defendant United States.

      292. At all relevant times, Officer Hatten used his authority as a law

enforcement officer to direct, order, restrain, force, overpower, intimidate, threaten,



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coerce, blackmail, harass, abuse, and assault the Plaintiff and to prevent her from

disclosing the sexual assaults for fear of retaliation, victim-blaming or shaming,

additional assaults, loss of employment, and SHU placement, among others.

      293. At all relevant times, Officer Hatten used his authority as a law

enforcement officer to sexually assault the Plaintiff, knowing that she had no ability

to consent or to withhold consent.

      294. Based on the foregoing circumstances, the United States, if it were a

private person, would be liable to Plaintiff Ms. Hernandez in accordance with the

laws of Florida, for the sexual assault that Officer Hatten committed on Ms.

Hernandez.

      295. As a result of Officer Hatten’s use and abuse of his position of authority

as a “law enforcement officer” within the course and scope of their employment,

Defendant United States is vicariously liable and has waived its sovereign immunity

for the intentional torts committed upon the Plaintiff. Therefore, Plaintiff bring this

Claim for sexual assault under the FTCA against the United States, based on the

conduct of its officer, Lenton Jerome Hatten.

      296. As a direct and proximate result of the foregoing, Plaintiff Ms.

Hernandez suffered debilitating psychological trauma, excruciating pain and

suffering, emotional distress, permanent and catastrophic psychological injuries,

permanent physical ailments associated with psychological injuries, humiliation,



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fear, depression, anxiety, frustration, loss of enjoyment and pleasures of life, loss of

quality of life, and offenses to her personal dignity, as well as attendant damages,

both general and special, including but not limited to any past and future medical

expenses and economic injuries.

         297. As a direct and proximate result of the foregoing, Plaintiff has suffered

serious harm including, without limitation, physical, psychological, emotional,

mental, financial, and reputational harm, and therefore, Plaintiff is entitled to recover

damages in an amount to be determined at trial.

                               PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Bonnie Hernandez respectfully requests that

judgment be entered against Defendant United States, and that this Court grant the

following to the Plaintiff:

         1.    An award of compensatory damages for all injuries caused by the

Defendant, including psychological and personal injuries, pain and suffering,

emotional distress, humiliation, physical injuries, loss of enjoyment of life, loss of

quality of life, and mental, financial, economic, and reputational damages, both past

and future, general and special, and other harm, in an amount to be determined at

trial;

         2.    An award of pre- and post-judgment interest to the fullest extent

permitted by law, for any and all monetary and/or non-monetary losses;



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      3.     An award of reasonable costs of suit and litigation expenses to the

fullest extent permitted by law;

      4.     An award of reasonable attorneys’ fees to the fullest extent permitted

by law; together with

      5.     Such other and further relief at law or in equity as this Court may deem

just and proper.



S/ Jaehyun Oh                              S/ Whitney Marie Untiedt
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